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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

CANDICE CHAPMAN, MICHAEL LITTLEFIELD,         )
STEDMAN KINE, DEANGELO BARNETT, TRACY         )
DUBOSE, individually and for a class of       )
similarly situated persons or entities.       )
                                              )
       Plaintiffs;                            )
v.                                            )    CIVIL ACTION NO:
                                              )    2:15-cv-00125-RCL-WC
THE CITY OF CLANTON, a municipal corporation; )
JUDICIAL CORRECTION SERVICES, LLC.,           )
a limited liability company, f/d/b/a          )    CLASS ACTION
JUDICIAL CORRECTION SERVICES, INC.;           )
CHC COMPANIES, INC., a corporation; and       )
CORRECT CARE SOLUTIONS, LLC,                  )
a limited liability company.                  )
                                              ) DEMAND FOR JURY TRIAL
       Defendants.                            )

                 SECOND AMENDED AND RESTATED COMPLAINT

       COME NOW, Candice Chapman, Michael Littlefield, Stedman Kine, Deangelo

Barnett, and Tracy Dubose (hereinafter “Plaintiffs”), individually and on behalf of those

similarly situated, upon personal knowledge as to themselves and their own acts, and upon

information and belief as to all other matters, by and through their undersigned counsel,

and file this Second Amended and Restated Complaint as follows:

                                     JURISDICTION

       1.     The Court has jurisdiction over this matter because it concerns a controversy

arising under the Constitution of the United States. 28 U.S.C. '1331. This is a civil rights

action brought under 42 U.S.C. '' 1983 and 1988.

       2.     This Court also has jurisdiction of this action by virtue of 28 U.S.C. ''

1343(a)(3) and 1343(a)(4), authorizing jurisdiction of claims brought under 42 U.S.C. '
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1983 to enforce civil rights guaranteed by the United States Constitution. The Court also

has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. ' 1367.

        3.    This action also seeks a declaratory judgment pursuant to 28 U.S.C. '' 2201

and 2022.

        4.    Venue in this judicial district is proper pursuant to 28 U.S.C. ' 1391 (b) and

(c).

                             PARTIES TO THE COMPLAINT

        5.    The Plaintiff Candice Chapman is an individual resident of Jemison, Chilton

County, Alabama.

        6.    The Plaintiff Michael Littlefield is an individual resident of Clanton, Chilton

County, Alabama.

        7.    The Plaintiff Stedman Kine is an individual resident of Clanton, Chilton

County, Alabama.

        8.    The Plaintiff Deangelo Barnett is an individual resident of Toccoa, Stephens

County, Georgia.

        9.    The Plaintiff Tracy Dubose is an individual resident of Clanton, Chilton

County, Alabama.

        10.   The classes which the individual Plaintiffs seek to represent consist of:

              All individuals who have in the past, or may in the future,
              assigned by the Clanton municipal courts to “probation” with
              JCS for the collection of fines;

              AND

              All individuals who, despite their indigency, were incarcerated,
              or may be subject to incarceration, without consideration of
              their indigency for failure to pay fines, charges and fees from
              the Clanton Municipal Court.


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        11.   The City of Clanton, Alabama, (“Clanton”) is a municipal corporation located

within Chilton County, Alabama. The City Council and Mayor control the policy making for

Clanton and also hired the municipal court judge and contracted for the services of JCS,

a private probation company, to collect its municipal court fines.

        12.    The Defendant Judicial Correction Services, LLC (hereinafter “JCS”) is a

Delaware limited liability company that was previously known as Judicial Correction

Services, Inc. Judicial Correction Services, Inc. converted to Judicial Correction Services,

LLC on December 28, 2015 (filed with the state of Delaware on January 27, 2016.)

Judicial Correction Services, Inc. was formed in Delaware on December 10, 2001 - file

number 3466819. In 2004, JCS registered as a foreign corporation doing business in the

State of Alabama and in this District. JCS marketed itself as “not a social service agency,”

but a “for profit”company which offered services to governmental entities “free of charge”

to the cities as “an offender paid system.” JCS has publically stated that it is no longer

doing business in the State of Alabama. At all times, JCS operated under the color of state

law.

        13.   The Defendant CHC Companies, Inc. (‘CHC’) (also hereinafter “JCS”) is a

Delaware corporation, registered as a foreign corporation and doing business in the State

of Alabama. JCS is, upon information and belief, a wholly-owned and fully integrated

corporation of CHC Companies, Inc. CHC Companies, Inc. also does business under the

name of Correctional Healthcare Companies and employed and directed employees in the

JCS operations from October 1, 2011 until June 24, 2014 when it was purchased by and

merged into Correct Care Solutions, LLC. (‘CCS’).

        14.   The Defendant Correct Care Solutions, LLC (‘CCS’) (also hereinafter “JCS”)

is a Kansas limited liability corporation, registered as a foreign limited liability company and

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doing business in the state of Alabama. On June 24, 2014, CCS purchased CHC

Companies, Inc. and has merged CHC’s operations, its businesses and its headquarters

with its own. The CCS home office and headquarters are now in Nashville, Tennessee,

from which it now directs and controls the operations of all its merged corporations,

including CHC Companies, Inc. The JCS operations are part of a division known as CCS’s

State and Federal Division, which is managed by Don Houston. CCS controls the

accounting, litigation and other operational aspects of the JCS operations contained within

this division and employs all the personnel within the JCS operations and that division.

                                          FACTS

         15.   The Plaintiffs bring this action because the policy and practices of Clanton

and JCS have violated the Plaintiffs’ statutory and constitutional rights and those of

persons similarly situated in the collection of municipal court fines, fees and costs.

         16.   The City of Clanton and its city court contracted with JCS which operates a

“for profit” enterprise that markets its services to various municipal governments and has

contracted with over 100 cities and towns throughout Alabama. JCS’s marketing approach

to these cities emphasizes that its fees will be paid by the “offender” before the municipal

court and that its efforts will improve collection of court fines and costs at no cost to the

city.

         17.   The JCS approach is highly systemized and uniform throughout the Alabama

municipal courts in which it operates, including its operation in Clanton.

         18.   Under the system established by JCS, its employees are not required to have

criminal justice or legal training, nor are they required to have any social work education

or meet any minimum law enforcement standards as is required of state probation officers.



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Instead, JCS requires only that its employees be 21 years old, a non felon, with two years

of college who complete 40 hours of training by JCS on its processes. On satisfying those

requirements, JCS employees are then labeled “Probation Officers”1 and previously

permitted to carry the JCS issued badge in collecting its fees, court fines and costs.

        19.      Clanton, by contract, policy and practice, has unlawfully delegated to JCS

many administrative and judicial functions of its municipal court, clothing it with the color

of state law for the collection of court fines, costs and the JCS private fees.

        20.      Additionally, the contract includes a requirement that every court order will

require probationers to pay JCS an additional, monthly fee. The agreement between

Clanton and JCS was signed by the city mayor and binds Clanton’s municipal court stating

“the City and Court enter into this agreement with JCS to provide probation services upon

the terms set forth below, including the following Exhibits:

                 Exhibit A - Uniform Standards of Probation Supervision

                 Exhibit B - Services Provided by JCS

                 Exhibit C - Compensation to JCS

        21.      Clanton, through its mayor Billy Joe Driver, approved the no bid contract with

JCS, the City, and the court beginning on February 9, 2009 and continued the relationship

until May 27, 2015 when the City of Clanton gave its 30-day notice to JCS that it was

terminating its contract.

        22.      During the February 9, 2009 to May 27, 2015 period, the City of Clanton was

fully aware of the practices and system of JCS and jointly participated in those practices



        1
          In contrast, even a judicial volunteer is required to meet greater and more specific qualifications,
careful screening, specific training and continual oversight established by the Administrative Office of Courts
(‘AOC’). See Ala. Rule of Judicial Administration Rule 42.

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as a matter of its policy and practice. The City of Clanton also approved the employment

of John Hollis Jackson III as judge of its municipal court.

       23.    At the Clanton Municipal Court which operated under the JCS contract and

system, a person unable to fully pay fines and costs when levied was automatically placed

on probation with JCS, even when there was no jail sentence adjudicated. This was

routinely done with no investigation into the indigency of the individual or the reasons for

their inability to pay the fine and costs. The probation orders supplied by JCS then required

the individual to make payment to JCS of the fines, costs and additional monthly fees as

required under Clanton’s contract with JCS.

       24.    The City has contracted with JCS to collect those payments, referring to this

system of debt collection for traffic tickets as "probation." JCS operates what it calls an

"Offender Funded Model" of probation, promising the City that it will not charge the City for

its services. Instead, JCS charges debtors – those who cannot afford to pay their tickets

immediately – additional monthly fees for the ability to be on "probation," typically $40 per

month in addition to whatever is owed to the City. JCS also charges an initial "set up" fee

when a person is placed on "probation." The "probation" payment plans are part of the

general policy practice established under the contract between the city and JCS.

       25.    For a number of years, Clanton, as a matter of its policy and practice,

implemented the JCS system. That system and JCS’s “Probation Tracker” software used

at Clanton are highly systemized and focus on collections of fines and its fees -- not

traditional probation services. For instance, the “probation officer” does not visit the

probationer’s home, job or family, and has contact with them only at the JCS office in

collecting fees and fines.

       26.    The mechanics of collection is detailed in the training manual used by JCS.

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JCS’s training manual instructs its employees on the use of its computer systems in

tracking the payments made by the “offenders” and provides court forms to order probation

and payments to JCS. The JCS training system also provides sample letters for use after

probation is ordered, threatening the “offender” that their inability to pay could result in “a

warrant for your arrest or a hearing set by the court.” See Exhibit A. Similar JCS forms

instruct the “offender” that they can avoid the court date if they pay an amount determined

by JCS. Notice to the offender of these JCS set “court dates” was handled by JCS by

regular mail with no proof of service and no consideration of returned mail showing no

receipt. See Exhibit B.

       27.    Similarly, the setting for any hearing on petitions instituted by JCS was done

by JCS and adopted by Clanton. JCS set the hearings and provided testimony against the

“offender.” See Exhibit C.

       28.    Finally, Clanton issues warrants for arrest based on JCS’s request when a

person does not attend the post-conviction court hearing JCS and Clanton have

demanded. These warrants list the previously adjudicated offense as the charge for which

the law enforcement officer should arrest the person. See Exhibit D. The approach was all

part of the policy and practice of Clanton.

       29.    Under this system and practice, once on probation to collect the fines,

“offenders” who cannot keep up their payments to JCS at Clanton are continually

threatened and if payments are not forthcoming, then required to reappear at post-

conviction “compliance” hearings where the judge threatens them with arrest if they do not

pay promptly. Clanton police officers attend these “compliance” hearings.

       30.     If a person misses payments or pays less than the amount ordered, JCS is



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given the discretion to decide whether to petition the City for "revocation" of probation

which requests that the person be arrested and jailed. The City routinely follows this

request.

       31.    Under this system and practice, when a JCS “probationer” does not attend

one of these “compliance” hearings, warrants are issued by the City citing the original

offense that has already been adjudicated. These arrests result from JCS reporting that

the “offender” failed to comply with their probation order – that is, they failed to pay or

appear at the JCS offices as JCS directed. The arrests and incarceration on these charges

occur without any determination of contempt or willfulness in these arrests. Under this

system, the “offender” arrested is jailed for an undetermined period of time with bond set

by the city magistrate to approximate the money claims to be owed on the balance at JCS.

Unlike legitimate probation systems where a probationer would be entitled to a finding of

the reasons for revocation, appointed counsel and, at worse, suffer jail time equating to the

original sentence, the system and practice at Clanton denies all those saf eguards.

       32.    As a matter of policy and practice at Clanton while operating with JCS, the

Court proceedings were closed to the public in violation of both state and federal law.

       33.    The City Council and Mayor control the policy making for Clanton and also

hires the municipal court judge and contracted for services of JCS at the municipal court.

The decision to use this JCS system was an administrative decision of Clanton, by and

through its mayor, and not a decision of the Chief Justice, or any other employee of the

Administrative Office of Courts (‘AOC’).

       34.    Clanton, through its contract, pattern and practice, has clothed JCS with the

appearance of state authority and has previously even allowed JCS employees to carry

badges. The JCS employees attended each municipal court session and are referred to

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as “probation officers” in the operation of the municipal court and city clerk’s office, though

none have such authority under Alabama statutes.

       35.    This public ruse was maintained by Clanton and JCS for purposes of

imposing and collecting fines and costs from citizens such as the Plaintiffs, and was

accomplished by allowing JCS to control the money, determine how much each municipal

court “offender” must pay each month, how much will be credited for each payment to the

collection “services” of JCS each month, and how much of it JCS would rebate to Clanton

toward the fines adjudged.

       36.    This system, policy and practice, as a matter of routine, violates the rights of

persons such as the Plaintiffs and the classes they seek to represent by imposing fines

and charging fees to indigent persons with no hearing or consideration of their indigency

and by converting fines to jail time.

       37.    Despite the lack of authority to do so, Clanton, as part of its policy and

practice, allows JCS to use threats of revoking probation, arrest, increased fines and costs

and jail time for purposes of collection. Under the system operated by Clanton, JCS’s

request to incarcerate an individual and/or impose unreasonable bond requirements was

routinely accepted by City personnel as a matter of policy without conducting delinquency

or probation hearings and without making any findings, much less any determination of

indigency or appointment of counsel before taking such punitive action. Furthermore, the

threats and jailing were done by Clanton and JCS despite the fact that both have a

significant financial stake in the proceedings and both have knowledge of the probationers’

poverty.

       38.    The collective actions of Clanton and its agent JCS are inextricably

interwoven with each other and routinely result in court costs and fines which exceed the

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statutory maximum of $500 for municipal courts. Similarly, the periods of “probation”

imposed for purposes of collecting fines and fees for JCS routinely exceed the two-year

statutory maximum for municipal probations, all of which results in Clanton taking action

to detain and otherwise incarcerate individuals without any jurisdiction to do so.

       39.    After improperly imposing probation even when no jail sentence is involved,

incarceration then follows if the fine, together with the fees added by JCS, are not paid as

dictated. The collection purpose of this system is emphasized by the fact that probation

is terminated once full payment is made and by the fact that no one who is able to

immediately pay their fine is put on “probation.”

       40.    Under the Clanton system and its policy and practice, its agent JCS has a

monetary interest to conduct its role as “probation officer” in a way that maximizes its

personal profit and not as a neutral court officer.

       41.    Under the scheme implemented by the Clanton policy and practice, its agent

JCS decides whether to initiate probation revocation proceedings, and makes

recommendations to the city judge about that revocation, and requests that warrants be

issued – all while financially interested in the outcome of these strong-arm collection

efforts.

       42.    Under the scheme implemented by the Clanton policy and practice, its agent

JCS undertakes no determination of the reasons for nonpayment, and does not consider

such things as the Plaintiffs’ disability, unemployment or lack of assets in regard to the

nonpayment of the fines and routinely seeks collection from exempt income such as Social

Security Disability payments.

       43.    Under the scheme implemented by the Clanton policy and practice, its agent

JCS denies any responsibility to determine indigency, and provides no instruction to its

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employees for the consideration of indigency despite the fact that it knows when it

“probationers” do not have a job, are in jail, and are filing for or receiving disability.

       44.    Under the scheme implemented by the Clanton policy and practice, after

simple fines are converted to “probation” for payment, jail often results for the “offender”

who does not meet the payment schedule. This system uses JCS’s conclusion of a

“probation violation” to incarcerate individuals who, had they been financially able to pay,

would have paid only a fine with no probation whatsoever.

       45.    Under its scheme implemented by the Clanton policy and practice, Clanton,

which is also financially interested, takes advantage of its control over its police force and

jail facilities to deny these “offender”/debtors the statutory and constitutional protections

that every other Alabama debtor may invoke against a private creditor by allowing JCS to

use or threaten debtors of the City with arrest and jail as coercion for payment.

       46.    Under this scheme, it is the policy and practice of Clanton to jail people when

they cannot afford to pay debts owed to the City resulting from prior traffic tickets or fines

and to jail them with knowledge of their poverty and without considering alternatives to

imprisonment.

                                      THE PLAINTIFFS

       47.    Plaintiffs and others similarly situated are individuals who were unable to fully

pay fines levied by the Clanton Municipal Court, and who, as a result, were assigned to

JCS for “probation” for purposes of collecting the fine. Many of the Plaintiffs are currently

or were formerly indigent and, despite that indigency, were incarcerated, or may be

incarcerated in the future, for failure to pay charges and fees for services allegedly

rendered by JCS to Clanton with which it contracts.



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       CANDICE CHAPMAN

       48.     Candice Chapman (‘Ms. Chapman’) is an individual resident of Jemison,

Chilton County, Alabama.

       49.     On April 3, 2014, Ms. Chapman was driving a vehicle that Clanton police

officer David Bone pulled over. Clanton police officer Faulkner was following Officer Bone

and pulled in behind him. Both officers approached the vehicle and requested to search

it. Ms. Chapman consented to a search of the vehicle and Officer Bone found a small

amount of marijuana. She was charged with possession of marijuana and released.

       50.     On May 13, 2014, Ms. Chapman appeared in the Clanton Municipal Court

and pled guilty to the misdemeanor offense of possession of marijuana. She was given a

30-day suspended jail sentence and assessed a $251 fine and court costs of $650. Her

total debt to the City for this offense was $901.

       51.     Ms. Chapman could not pay the fine and cost immediately and was ordered

to JCS ‘probation’ pursuant to the City’s contract and practice with JCS.

       52.     Ms. Chapman told the JCS employee that she could not immediately pay the

fees totaling $901, so the JCS employee filled in the ‘probation’ order requiring her to pay

$140 a month and to show up at the JCS office within the week to begin making payments.

       53.     Ms. Chapman’s ‘probation’ also required that she pay JCS a $10 set up fee

and $40 a month for every month she was on JCS ‘probation.’

       54.     Ms. Chapman was arrested in Wal-Mart on May 25, 2014, and charged with

shoplifting.

       55.     On May 27, 2014, Ms. Chapman’s ex-husband went to the JCS office and

paid $40 for her. JCS kept $20 and applied $20 to her Clanton fines. JCS also directed



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that Ms. Chapman come back in three days and pay the remaining $100 on her $140

monthly ‘payment plan.’

       56.    Ms. Chapman went to the JCS office on May 30th and paid $100. The JCS

employee told her to come back on June 13th with $140. JCS kept $30 of her $100

payment -- $10 for its ‘start-up’ fee and $20 for its monthly ‘probation fee’ - and sent $70

to Clanton for it to apply against Ms. Chapman’s fines. This was all done pursuant to JCS’s

contract and practice with the City of Clanton.

       57.    On June 27, 2014, Ms. Chapman went to the JCS office and paid $40; the

JCS employee told her to come back in three days with the remaining $100. JCS kept $20

and sent $20 to Clanton to apply against Ms. Chapman’s fines.

       58.    On or about July 15 2014, Ms. Chapman was found guilty in the Clanton

Municipal Court of the misdemeanor offense of theft of property. She was given a 30-day

suspended jail sentence and assessed a $250 fine and court costs of $251 for a total debt

to the City of $624 for this offense. She was not able to immediately pay the fine and costs.

       59.    Despite her indigency she was, once again, ordered to JCS ‘probation’

pursuant to the City’s contract and practice with JCS.

       60.    Ms. Chapman told the JCS employee that she could not immediately pay the

fees totaling $501, so the JCS employee filled in the ‘probation’ order requiring her to pay

$140 a month and to show up at the JCS office within the week to begin making payments.

       61.    Ms. Chapman’s ‘probation’ also required that she pay JCS a $10 set up fee

and $40 a month for every month she was on JCS ‘probation.’ People before the Clanton

City court who could immediately pay their fines and costs were not sent to JCS and did

not have to pay these extra fees.

       62.    Ms. Chapman continued to struggle to pay these escalating fines and fees.

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       63.     On or about August 19, 2014, Ms. Chapman pled guilty in the Clanton

Municipal Court to the misdemeanor offense of promoting prison contraband. She was

assessed a $200 fine and court costs of $251 for a total debt to the City of $451 for this

offense. The "Bench Notes" are ambiguous at best as to the jail sentence she received,

but they read in relevant part that Chapman "currently has 28 day sentence (sic) to serve

on probation [illegible]" and that she will be sentenced "to serve 9 additional days in county

(sic) jail" for this offense.

       64.     Once again, since she could not afford to pay the fines and court costs for

these offenses, the City put her on a “payment plan” with JCS. Once again, she was

charged an initial $10 set-up fee and an additional fee of $40 per month in addition to what

was owed to the City for as long as the balance remained unpaid.

       65.     On September 19, 2014, police from Clanton arrested Chapman. The police

took her to the Chilton County jail, which houses municipal court inmates. At the time of

the arrest, Chapman was not aware that there was a warrant out for her arrest and did not

know the reason for the arrest. Chapman was also not aware that her probation on the first

two cases had already been revoked in her absence on September 9, 2014.

       66.     Chapman later found out that JCS filed a document entitled "Petition for

Revocation of Probation and Statement of Delinquency Charges" on or about August 26,

2014. The total amount that Chapman was alleged to have owed for the first two tickets

was then $1,293. JCS further alleged that she failed to pay the monthly supervision fees

that totaled $60, for an overall total of $1,353.

       67.     Chapman's debt owed to the court for the first two offenses was converted

to days in jail on or about September 22, 2014. Chapman was sentenced to "28.3 days"

in jail "in lieu of payment" of $1,415 owed for her court debt. For the third offense,

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Chapman's debt of $451 was immediately "converted to days in jail in lieu of payment"

upon the finding of guilt. She was not appointed an attorney and was never offered

community service as an alternative to paying the fine and court costs.

       68.     When she was jailed, Chapman was indigent. By the time of her release, on

or about October 26, 2014, Chapman had served approximately 37 days in jail due to her

nonpayment of court debt.

       69.     Despite knowing that she was indigent, the City of Clanton and its agent JCS

demanded payment and threatened jail if they did not receive money by specific dates.

Clanton also demanded that Ms. Chapman attend city court periodically and explain how

she was doing on making her payments.

       70.     Neither the City nor JCS had the authority to demand additional fees or the

onerous “reporting” requirements because she could not pay the fines.

       71.     Neither the City nor JCS evaluated her financial situation and she has never

had an attorney appointed to represent her.

       72.     Throughout this period of time, JCS has provided no services to Ms.

Chapman and has acted merely as a collection agency for Clanton charging additional

fees, and despite knowledge that Ms. Chapman was unable to pay these fines and was

indigent, JCS demanded payment of excessive fines and fees while threatening jail and

using the city police to jail her.

       MICHAEL LITTLEFIELD

       73.     Michael Littlefield (Mr. Littlefield’) is an individual resident of Clanton, Chilton

County, Alabama.

       74.     In the spring of 2010, Mr. Littlefield was stopped by a Clanton police office



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for an improper tag. The officer charged him with improper tag and driving with license

suspended.

        75.    Mr. Littlefield was unable to immediately pay the fines for these offenses, so

he was unable to sign the back of the uniform traffic citation and send a check or money

order to resolve these cases. As such, and pursuant to Clanton’s policy and practice, Mr.

Littlefield had to go to the Clanton City court to tell the court personnel that he could not

pay.

        76.    Clanton did not allow people to plead guilty with the City magistrate and begin

making payments to the magistrate when they could not immediately pay. Rather, Clanton,

pursuant to its contract and practice with JCS, required people who could not immediately

pay the fines to appear in City court where the City judge would place those people on JCS

‘probation.’

        77.    On June 29, 2010, Mr. Littlefield appeared in Clanton’s municipal court. He

was ordered to pay $320 for DWS and $173.50 for improper tag. He was not sentenced

to any jail time; he did not have a lawyer, and he told the City judge that he was unable to

pay either of the amounts in full. The judge did not give Mr. Littlefield any other alternatives

such as community service and, instead, ordered him to JCS ‘probation’ pursuant to the

City’s contract and practice with JCS.

        78.    Mr. Littlefield also told the JCS employee that he could not immediately pay

the fees totaling $493.50, so the JCS employee filled in the ‘probation’ order requiring him

to pay $140 a month and to show up at the JCS office within 48 hours to begin making

payments.

        79.    Mr. Littlefield’s ‘probation’ also required that he pay JCS a $10 set up fee and

$40 a month for every month he was on JCS ‘probation.’ People appearing before the

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Clanton City court who could immediately pay these fines did not have to go to Clanton’s

court and were not placed on “probation” with JCS.

       80.    Mr. Littlefield remained unable to pay the fines, costs and fee and within a

few months Clanton had issued a warrant for his arrest. The police arrested Mr. Littleton

and he stayed in jail until such time as Clanton released him for ‘time served.’ Clanton’s

practice of jailing indigent people for their inability to pay is known as ‘pay or stay’ and

those attending Clanton’s court quickly learn that this policy is enforced by the City judge,

City clerks, and the City’s police.

       81.    The summer of 2014 Mr. Littlefield was again stopped by a Clanton police

officer for an expired tag. The officer charged him with expired tag and driving with no

insurance.

       82.    Once again, Mr. Littlefield was unable to immediately pay the fines for these

offenses, so he was unable to sign the back of the uniform traffic citation and send a check

or money order to resolve these cases. As such, and pursuant to Clanton’s policy and

practice, Mr. Littlefield had to go to the Clanton City court to tell the court personnel that

he could not pay.

       83.    On June 29, 2010, Mr. Littlefield appeared in Clanton’s municipal court. He

was ordered to pay $504 for no insurance and $229 for expired tag. He was not sentenced

to any jail time; he did not have a lawyer, and he told the City judge that he was unable to

pay either of the amounts in full. The City judge did not give Mr. Littlefield any other

alternatives to pay for his crimes such as community service. Rather, Mr. Littlefield was

ordered to JCS ‘probation’ pursuant to the City’s contract with JCS.

       84.    Mr. Littlefield told the JCS employee that he could not immediately pay the

fees totaling $708, so the JCS employee filled in the ‘probation’ order requiring him to pay

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$140 a month and to show up at the JCS office within the week to begin making payments.

       85.    Mr. Littlefield’s ‘probation’ also required that he pay JCS a $10 set up fee and

$40 a month for every month he was on JCS ‘probation.’ People appearing before the

Clanton City court who could immediately pay their fines did not have to go to Clanton’s

court and were not assigned “probation” with JCS.

       86.    Mr. Littlefield remained unable to pay and within a few months Clanton had

issued a warrant for his arrest. The police arrested Mr. Littleton and he stayed in jail until

such time as Clanton released him for ‘time served.’ Clanton’s practice of jailing indigent

people for their inability to pay is known as ‘pay or stay’ and those attending Clanton’s

court quickly learn that this policy is enforced by the City judge, City clerks, and actively

enforced by the City’s police.

       87.    On November 4, 2014, Littlefield pled guilty to the misdemeanor offense of

illegal possession of prescription drugs. He did not have a lawyer at the time and did not

contest the charge, even though he was later informed that he had a valid defense to the

charge based on an illegal search and seizure. He was given a 30-day suspended jail

sentence and assessed a fine of $251 and court costs of $736. His total debt to the City

was $987.

       88.    Because he could not pay the fines and court costs, once again the City put

him on a “payment plan” with JCS. He was charged an initial $10 set-up fee and an

additional fee of $40 per month in addition what was owed to the City for as long as the

balance remained unpaid.

       89.    Littlefield has worked sporadically in the past two years for a disabled

neighbor, sometimes earning $50 per day of work. At most, he has worked three to four

days per week over the past two years. Some weeks he did not work at all. He earned at

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most $1,000 per month. Based on his stated income, Littlefield was barely subsisting at the

federal poverty line.2 Littlefield was struggling to survive and had to rely on family members

to help pay for housing, food, and other basic necessities. After pleading guilty, he was

unable to pay JCS or the City.

        90.      On Friday night, December 19, 2014, police from Clanton came to Littlefield's

mother's house, where he lives, and arrested him and took him to the Chilton County jail,

which houses municipal court inmates. At the time of the arrest, Littlefield was not aware

that there was a warrant out for his arrest and did not know the reason for his arrest.

Littlefield also was not aware that the municipal court had set a revocation hearing for

December 2, 2014. He never received a copy of this document or notice that his case was

set for a revocation on that date. Because he was not aware of the hearing, he did not

appear in municipal court. Littlefield later found out that his probation was revoked in his

absence and that a warrant was issued for his arrest. The warrant stated "Cash Bond Only

$1,056.00."

        91.      He later found out that JCS signed a "Petition for Revocation of Probation

and Statement of Delinquency Charges" on or about November 24, 2014. The total amount

that Littlefield was alleged to have owed for this ticket was then $1,106. JCS alleged that

he failed to pay fines, fees, and costs in the amount of $1,056, rather than the $987

imposed by the court. Additionally, the document assessed a $50 payment for a monthly

supervision fee, which curiously was listed at only $40 in the body of the document. No

reason had been given why JCS added an additional $10 for the monthly supervision fee

or how they arrived at the $1,056 or $1,106 amounts.


        2
          This number likely substantially overstates Mr. Littlefield's financial resources; The federal poverty
line for an individual was $11,670 in 2014.

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       92.     Littlefield was never again brought before the municipal court for this matter.

Three days after his arrest, he was informed that the court "converted to days in jail in lieu

of payment" for the costs and fines, which allegedly totaled $1,056 (as opposed to the

$987 assessed by the court in December 2014 or the $1,106 claimed by Judicial

Correction Services). He was ordered to serve "21.12 days" in jail at the rate of $50 per

day. He was not appointed an attorney and was never offered community service as an

alternative to paying the fines and court costs.

       93.     At the time he was jailed, Littlefield did not own a house, car, financial

instruments, or any other significant assets. He did not have a bank account and struggled

just to survive.

       94.     Mr. Littlefield was released before his 21.12 days were served. As such, the

City continues to claim he owes a balance on the fines, costs and fees and in jeopardy of

the same unconstitutional treatment pursuant to the City's ongoing policies and practices.

He has the ongoing fear of imminent imprisonment resulting from the City's policies and

practices with respect to municipal debt collection.

       95.     Despite knowing that he was indigent, the City of Clanton and its agent JCS

demanded payment and threatened jail if they did not receive money by specific dates.

Clanton also demanded that Mr. Littlefield attend city court periodically and explain how he

was doing on making his payments.

       96.     Neither the City nor JCS had the authority to demand additional fees or the

onerous “reporting” requirements because he could not pay the fines.

       97.     Neither the City nor JCS evaluated his financial situation and he has never

had an attorney appointed to represent him.

       98.     Throughout this period of time, JCS has provided no services to Mr. Littlefield

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and has acted merely as a collection agency for Clanton charging additional fees, and

despite knowledge that Mr. Littlefield was unable to pay these fines and was indigent, JCS

demanded payment of excessive fines and fees while threatening jail and using the City

police to jail him.

        STEDMAN KINE

        99.    Stedman Kine (‘Mr. Kine’) is an individual resident of Clanton, Chilton County,

Alabama.

        100.   The summer of 2011 Mr. Kine was eighteen (18) years old and was charged

by the Clanton police with minor consumption of alcohol.

        101.   Mr. Kine appeared in the Clanton Municipal Court on August 2, 2011 and was

assessed $150 and $421 court costs for his crime; he was not given any jail time for the

charge.

        102.   Mr. Kine was unemployed and lived with his parents. He told the court

personnel that he was unable to immediately pay the $571 penalty as he did not have a

job.

        103.   Pursuant to its contract and practice with JCS, the Clanton City court put Mr.

Kine on JCS ‘probation’ for JCS to collect the City fees from Mr. Kine.

        104.   Pursuant to its contract and practice with the City and the City’s court, JCS

charged Mr. Kine a $10 set up fee and $40 each month he was on ‘probation.’ Mr. Kine

told JCS that he did not have a job and could not pay, but JCS demanded that he come

to the JCS office and pay $145 a month.

        105.   Mr. Kine was unable to pay and within weeks JCS was threatening that he

would have to return to court to explain, again, why he could not pay if he did not pay JCS



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the $145 it demanded.

       106.   When Mr. Kine did not pay JCS the $145, JCS scheduled a revocation

hearing for him demanding that he come to the Clanton City court on September 13, 2011,

where JCS would request his probation be revoked.

       107.   Despite the fact that Mr. Kine was not given jail time for his crime, and

despite the fact that Mr. Kine did not receive notice of the hearing, JCS requested that the

City court issue a warrant for his arrest when he did not appear at the revocation hearing

JCS scheduled.

       108.   Clanton complied with JCS’s request and, on September 14, 2011, issued

a warrant for Mr. Kine’s arrest.

       109.   That same day, September 14, 2011, Mr. Kine’s mother went to the JCS

office and paid $250 to have Clanton recall the warrant on her son.

       110.   JCS took the $250 from Mr. Kine’s mother and kept $90 for its fees ($10 set

up fee and $80 for 2 months of ‘probation’ fees -- August and September) and sent the City

of Clanton $160 to apply against Mr. Kine’s court cost.

       111.   Mr. Kine continued to be indigent and unable to pay and JCS once again

scheduled a revocation hearing because he could not pay the $200 JCS demanded.

       112.   Once again, JCS scheduled its revocation hearing for October 25, 2011. Mr.

Kine did not receive notice of the hearing and, as such, did not appear.

       113.   Despite the fact that Mr. Kine did not receive notice of the JCS established

hearing, Clanton complied with the JCS request and issued a warrant for his arrest.

       114.   In 2012 Mr. Kine was arrested for his inability to pay these fines pursuant to

Clanton’s warrant; despite the fact that he was never sentenced to time in jail for his crime

of minor consumption, and despite the fact that his mother paid $250 against his City fines

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and fees.

           115.   Pursuant to its policy, Clanton demanded that Mr. Kine pay a cash bond to

secure his release from jail. The cash bond set by the City totaled the amount JCS stated

he owed the City and it.

           116.   When Mr. Kine was unable to pay the cash bond demanded, he was kept in

jail for days and given ‘time served’ -- despite the fact that he had never been sentenced

to jail.

           117.   In the spring of 2013, Clanton police cited Mr. Kine with the crime of littering.

           118.   Since Mr. Kine was unable to immediately pay the littering fine, he was

required to appear in Clanton’s Municipal Court, which was Clanton’s practice and policy.

People who could immediately pay their littering fines were not required to appear in City

court and could send in the fine by mail.

           119.   On May 14, 2013, Mr. Kine appeared in Clanton’s City court and was

assessed $250 in fines and $251 in court costs for his crime of littering; he was not given

any jail time.

           120.   Mr. Kine was unemployed and lived with his parents. He told the City judge

that he was unable to immediately pay the $501 penalty as he did not have a job.

           121.   Pursuant to its contract and practice with JCS, the Clanton City court put Mr.

Kine on JCS ‘probation’ for JCS to collect the City fines and costs from Mr. Kine.

           122.   Pursuant to its practice and contract with the City and the City’s court, JCS

charged Mr. Kine a $10 set up fee and $40 each month he was on ‘probation.’ Mr. Kine

told JCS that he did not have a job and could not pay but JCS demanded that he come to

the JCS office and pay $145 a month.

           123.   Mr. Kine was unable to pay and within weeks JCS was threatening that he

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would have to return to court to explain, again, why he was unable to pay.

       124.   JCS followed its procedures and within a few months, on July 23, 2013, Mr.

Kine was again placed on warrant status with JCS.

       125.   Mr. Kine was arrested and jailed.

       126.   Mr. Kine could not pay the cash bond demanded so he stayed in jail.

       127.   On September 17, 2013, Mr. Kine was in jail and appeared via video at the

Clanton City court to answer for the charge of criminal trespass.

       128.   Once again, Mr. Kine was assessed $200 in fines and $374 in court costs for

his crime of trespass; he was not given any jail time.

       129.   Mr. Kine was in jail at the time and told the City judge that he was unable to

immediately pay the $574 penalty as he did not have a job and had been unable to pay the

cash bond required for his release on the current charge.

       130.   Despite knowledge of his poverty and pursuant to its contract and practice

with JCS, the Clanton City court put Mr. Kine on JCS ‘probation’ for JCS to collect the City

fines and costs from Mr. Kine.

       131.   On October 7, 2013, Mr. Kine went to the JCS office to ‘report’ for his

‘probation’ of trespass. He did not have any money as he was just released from jail and

did not have a job.

       132.   Despite knowledge of his indigency and pursuant to its contract and practice

with the City and the City’s court, JCS charged Mr. Kine a $10 set up fee and $40 each

month he was on ‘probation.’ Mr. Kine told JCS that he did not have a job and could not

pay, but JCS demanded that he come to the JCS office and pay $145 a month.

       133.   On October 16, 2013, Mr. Kine went to the JCS office and paid $10. JCS told

him that he needed to pay $135 by October 18, 2013.

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       134.   On October 23, 2013, a woman reported to the JCS office on Mr. Kine’s

behalf and paid $20.

       135.   Mr. Kine was unable to go to the JCS office and pay as he did not have

reliable transportation or a steady job.

       136.   On November 20, 2013, Mr. Kine went to the JCS office and paid $19; the

JCS employee told him to come back the 25 th with $25.

       137.   When he continued to be unable to go to the JCS office and pay as

demanded, JCS scheduled its revocation hearing for April 1, 2014. Mr. Kine did not receive

notice of the hearing and, as such, did not appear.

       138.   Despite the fact that Mr. Kine did not receive notice of the JCS established

hearing, Clanton issued a warrant for his arrest.

       139.   On July 6, 2014, Mr. Kine was a passenger in a vehicle which was stopped

by Clanton police officer Kevin Quinley for failure to wear seatbelts. When the vehicle

stopped, Mr. Kine exited the vehicle and ran thinking that Clanton had again issued a

warrant for his arrest. Officer Quinley pursued him, physically put Mr. Kine on the ground,

subdued him and charged Mr. Kine with the crimes of attempting to allude police, resisting

arrest and possession of marijuana.

       140.   For these crimes, Mr. Kine was assessed fines and court costs totaling

$1,989 which he could not pay.

       141.   Once again, pursuant to its contract and practice with JCS, the Clanton City

court assigned him to probation with JCS -- despite knowledge of Mr. Kine’s indigency.

       142.   Pursuant to its contract and practice with the City and the City’s court, JCS

charged Mr. Kine a $10 set up fee and $40 each month he was on ‘probation.’ Mr. Kine

told JCS that he did not have a job and could not pay, but JCS demanded that he come

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to the JCS office and pay $140 a month.

         143.   Once again, Mr. Kine could not pay and, within months, JCS requested that

Clanton issue another warrant for Mr. Kine’s arrest.

         144.   On November 19, 2014, Clanton issued three (3) warrants for Mr. Kine’s

arrest -- a warrant for each crime that had previously been adjudicated. These warrants

demanded cash bonds of $624, $551 and $451, representing the amount claimed to be

owed by Mr. Kine on each charge.

         145.   On November 21, 2014, Clanton City police again arrested Mr. Kine and

brought him to the Chilton County jail.

         146.   Mr. Kine was unable to pay the cash bonds, so Clanton converted his costs

and fines to jail time and required that he spend fifty-four (54) days in jail. If Mr. Kine had

been able to pay the costs and fines, he never would have been on JCS ‘probation’ and

he would have been released from jail once payment was made.

         147.   When he was jailed, Mr. Kine did not own a house, car, financial instruments,

or any other significant assets. He did not have a bank account and continues to rely on

the support of family members to survive. By the time of his release, on January 11, 2015,

Kine had served approximately 51 days in jail due to his nonpayment of fines, fees, and

costs.

         148.   Mr. Kine has been unable to keep constant employment due to difficulties

with his health. Mr. Kine has at all times has been below the poverty level.

         149.   Despite knowing that he was indigent, the City of Clanton and its agent JCS

demanded payment and threatened jail if they did not receive money by specific dates.

Clanton also demanded that Mr. Kine attend City court periodically and explain how he was

doing on making his payments.

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        150.   Neither the City nor JCS had the authority to demand additional fees and

onerous “reporting” requirements because he could not pay the fines.

        151.   Neither the City nor JCS evaluated his financial situation and he has never

had an attorney appointed to represent him.

        152.   Throughout this period of time, JCS has provided no services to Mr. Kine and

has acted merely as a collection agency for Clanton charging additional fees, and despite

knowledge that Mr. Kine was unable to pay these fines and was indigent, JCS demanded

payment of excessive fines and fees while threatening jail and using the City police to jail

him.

        DEANGELO BARNETT

        153.   Deangelo Barnett (‘Mr. Barnett’) is an individual resident of Toccoa, Stephens

County, Georgia.

        154.   On September 21, 2010, Mr. Barnett was brought before the Clanton

Municipal Court on the charge of “Public Intoxication.” For his crime, Mr. Barnett was fined

$150 and assessed $382 in court costs, totaling $532 in money owed to the City of

Clanton.

        155.   Mr. Barnett informed the court personnel that he was unable to immediately

pay $532 because he struggled to pay his bills. He lived with his mother and worked when

he could find jobs. He had not graduated from high school and it was hard to find a job that

paid well and that allowed him to work a full work week.

        156.   Despite knowledge that Mr. Barnett could not immediately pay the fines

because of his poverty, Clanton made no investigation of his indigency and instead ordered

that Mr. Barnett be assigned to JCS for the “payment plan.”



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       157.   As directed, Mr. Barnett went to the room where the JCS employee required

him to fill out an intake form and sign a paper that he later learned was a probation order.

       158.   Pursuant to its contract and practice with the City and the City’s court, JCS

charged Mr. Barnett a $10 set up fee and $40 each month he was on ‘probation.’

Additionally, JCS demanded that Mr. Barnett make monthly payments to it for $145 per

month. Mr. Barnett told JCS that he could not pay $145 a month because he did not earn

much money, but JCS demanded that he come to the JCS office and pay $145 a month.

       159.   In addition to the financial difficulty of paying $145 a month, JCS also

required Mr. Barnett to travel to its Columbiana office to make these payments.

       160.   On November 3, 2010, Mr. Barnett traveled to Columbiana and paid JCS

$145. JCS kept $70 ($10 set up fee and $60 in ‘probation fees’) and sent $75 to the City

of Clanton for it to apply this amount against Mr. Barnett’s fines and court costs, leaving

a $457 balance.

       161.   Mr. Barnett had to work an entire week to pay JCS $145 as he brought home

approximately $300 every other week but, within the month, JCS was calling Mr. Barnett

demanding its monthly $145.

       162.   When he remained unable to go to the JCS office and pay as demanded,

JCS scheduled its revocation hearing for January 5, 2011, stating that it would cancel the

hearing if it received $250.

       163.   Mr. Barnett did not receive notice of the hearing and, as such, did not appear.

       164.   Despite the fact that Mr. Barnett did not receive notice of the JCS appointed

hearing, Clanton issued a warrant for his arrest.

       165.   On June 29, 2011, Mr. Barnett was arrested on the warrant that was issued

because he could not pay JCS and Clanton demanded a cash bond for his release.

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       166.   Mr. Barnett’s family and friends gathered enough money to satisfy Clanton

and secure his release. From this cash bond that Mr. Barnett’s family paid, Clanton sent

JCS $100 it had demanded for Mr. Barnett’s release. The $100 Clanton sent to JCS was

in addition to the amount the City kept for its fines and fees.

       167.   At all times throughout this process, Mr. Barnett was indigent, was not

provided an attorney and JCS did not provide him any services other than that of a debt

collector.

       168.   On July 2, 2013, Mr. Barnett was again brought before the Clanton Municipal

Court on charges of “driving while revoked” and “possession of marijuana.” He was

assessed $551 in fines and $844 in costs for a total of $1,395.

       169.   Once again, because Mr. Barnett could not pay immediately, he was once

again placed on ‘probation’ with JCS and ordered to pay JCS an additional $40 per month

and a $10 set up fee. JCS once again set his monthly payment amount at $145 per month.

       170.   Mr. Barnett continued to be indigent and struggled to find consistent work.

At all relevant times, he was unable to pay JCS as it demanded because he did not have

the money. He told the City of Clanton and JCS that he was unable to pay due to being laid

off from work, not getting regular hours, and only bringing home several hundred dollars

every other week when he did have work. Nevertheless, JCS continued to hound him for

payments, which he could not make.

       171.   In January 2014, Mr. Barnett was pulled over and charged with no seat belt

and driving while revoked and once again had to appear in Clanton City court. As was the

policy and practice of Clanton, Mr. Barnett was assessed a money fine despite the fact that

he stated he could not pay. He was not given any alternative punishment for his crimes

such as community service nor was he offered or provided an attorney.

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       172.   Once again, because Mr. Barnett could not pay immediately, he was placed

on ‘probation’ with JCS on the JCS form and ordered to pay JCS an additional $40 per

month and a $10 set up fee. JCS once again set his monthly payment amount at $145 per

month.

       173.   Mr. Barnett’s fines and costs totaled $590 for the charges of no seat belt and

DWLR. On his probation order paperwork, JCS designated that this ‘probation’ run

concurrent with his current ‘probation’ which he was struggling to pay off.

       174.   From July 2013 to late June 2014, Mr. Barnett made meager payments as

he was able. In fact, Mr. Barnett made twenty-five (25) payments to JCS over that year --

$25-$40 payments almost every other week. His efforts did not satisfy JCS and his balance

with the City was not going down much because JCS was taking almost half of every

payment for its profit.

       175.   From July 2013 to June 2014, Mr. Barnett paid JCS Six Hundred Eighty

Dollars ($680), yet his City balance was only reduced by $350 which meant that he still

owed the City of Clanton $1,045 on his first ‘probation’ and $590 on his second JCS

‘probation’ in late June 2014.

       176.   On June 27, 2014, Mr. Barnett went to the JCS office and paid $40; JCS kept

$20 and sent Clanton $20 to apply against his balance. Mr. Barnett was then told that he

would have to appear in Clanton’s City court on July 16, 2014 to explain why he was not

paying JCS $145/month.

       177.   Mr. Barnett once again went to the Clanton City court and explained that he

did not have any assets, property or any other financial means to pay the fines and fees

assessed against him.

       178.   Mr. Barnett was not provided an attorney nor was he given an alternative,

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non-monetary punishment. Rather, he was thrown in jail and told that if someone came

and paid his balance in full he would be released. Neither Mr. Barnett nor his family

members could pay the City of Clanton all the money it demanded, so Mr. Barnett stayed

in jail for 33 days to “serve out” his fines and costs with the City of Clanton.

       179.   Neither the City of Clanton nor JCS considered the fact that Mr. Barnett was

poor and unable to pay nor was he given alternative forms of punishment such as

community service or payment over time without additional fees.

       180.   Throughout this period of time, JCS has provided no services to Mr. Barnett

and has acted merely as a collection agency for Clanton charging additional fees. Despite

knowledge that Mr. Barnett was unable to pay these fines, and was indigent, the City of

Clanton and JCS demanded payment of excessive fines and fees while threatening jail and

ultimately incarcerating Mr. Barnett.

       TRACY DUBOSE

       181.   Tracy Dubose (‘Ms. Dubose’) is an individual resident of Clanton, Chilton

County, Alabama.

       182.   Ms. Dubose was brought before the Clanton Municipal Court on May 21,

2013, on charges of "possession of paraphernalia." At that time, Ms. Dubose informed

Clanton and its agent JCS that she was on disability and did not have assets and valuables

to pay a money fine. Nevertheless, she was fined $251 and ordered to pay $590 in court

costs, totaling $841.

       183.   Ms. Dubose was not financially able to immediately pay the $841 fines, so

the Clanton City court, pursuant to its agreement and practice with JCS, ordered her to

“probation” with JCS for the collection of the fines. Pursuant to its agreement with the City,



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JCS used its form ‘probation order’ which it required Ms. Dubose to sign. JCS charged her

a $10 set up fee and $40 per month for every month she had a balance outstanding.

Additionally, JCS required her to pay a minimum monthly payment of $85 and drive to its

Jemison office to pay.

         184.   At all times, Ms. Dubose was and has been disabled and indigent receiving

Social Security Income. As such, she was not always able to pay the $85 monthly JCS

payment.

         185.   Despite knowledge of her indigency and disability, Clanton and JCS

demanded payment and threatened jail if they did not receive the $85 each month -- which

they would split -- $45 to the City and $40 to JCS.

         186.   Despite her poverty, Ms. Dubose made monthly or bi-monthly payments as

she could. When Ms. Dubose made a payment, JCS would often take half of the amount

Ms. Dubose paid and apply it to the JCS fees they claimed she owed instead of the court

costs.

         187.   During that time, Ms. Dubose also struggled to find transportation to the JCS

office in Jemison, where she was required to report. When JCS did not receive the money

it demanded from Ms. Dubose, JCS would hound her relatives, seeking payment.

         188.   Neither the City nor JCS had the authority to demand additional fees and

onerous "reporting" requirements because Ms. Dubose could not pay the fines.

         189.   Despite her poverty, on June 6, 2014, Ms. Dubose was finally able to pay her

City fines in full and pay JCS what it claimed she owed. By this time, Ms. Dubose had

traveled to the JCS Jemison office approximately 33 times and had paid Clanton $841 and

its agent JCS $520 in ‘probation’ fees, which is $520 more than other people adjudicated

for the same offense who were able to pay immediately.

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       190.    Neither the City of Clanton nor JCS considered Ms. Dubose's indigency and

she has never had an attorney appointed to represent her. Further, Ms. Dubose was never

given alternative forms of punishment such as community service or payment over time

without additional fees.

       191.    Throughout this period of time, JCS has provided no services to Ms. Dubose

and has acted merely as a collection agency for Clanton charging additional fees. Despite

knowledge that Ms. Dubose was unable to pay these fines, was indigent and on disability,

the City of Clanton and JCS demanded payment of excessive fines and fees while

threatening jail.

                           PLAINTIFFS' CLASS ALLEGATIONS

       192.    The Classes which the named Plaintiffs seek to represent consist of:

               All individuals who have been in the past, or may be in the
               future, assigned by the Clanton Municipal Court to “probation”
               with JCS for the collection of fines.

               AND

               All individuals who, despite their indigency, were incarcerated,
               or may be subject to incarceration, without consideration of
               their indigency for failure to pay fines, charges and fees from
               the Clanton Municipal Court.

       193.    The members of the Classes and subclasses are so numerous that joinder

of all members is impracticable.

       194.    As of this time, the exact number in the Classes is unknown but would be

more than one thousand and is ascertainable.

       195.    Plaintiffs' treatment by the Defendants is typical of the members of the

Classes and subclasses and is ongoing.

       196.    Plaintiffs will fairly and adequately protect the interests of the Classes and


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have retained counsel who are competent and experienced in class litigation. Plaintiffs

have no interests that are adverse or antagonistic to the Classes.

      197.   A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy. Since the damages suffered by many Class

members may be small, the expense and burden of individual litigation make it virtually

impossible for the Class members individually to seek redress for the wrongful conduct

alleged.

      198.   Common questions of law and fact exist as to all members of the Class, and

predominate over any questions affecting solely members of the Class. Among the

questions of law and fact common to the Class are:

             a.     Whether policy and practice of automatically placing on “probation” at

             additional cost all municipal offenders who cannot immediately pay fines and

             costs is legal;

             b.     Whether the policy and practice of converting unpaid fines and costs

             to days of incarceration, without any determination concerning an individual’s

             ability to pay, is legal;

             c.     Whether the policy and practice of requiring every order of the

             municipal court to require probation fees for JCS is legal;

             d.     Whether the policy and practice of incarcerating individuals for failure

             to pay fines and costs with no finding of willfulness is legal;

             e.     Whether the policy and practice of incarcerating individuals for failure

             to appear when no notice of the hearing provided by the court is legal;

             f.     Whether the policy and practice of incarcerating individuals for an

             offense that has been adjudicated with no jail sentence and with no finding

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              of willful contempt is legal;

              g.       Whether the policy and practice of charging an additional fee for

              “failure to appear” to a post-conviction hearing on an illegal “probation” is

              legal;

              h.       Whether the policy and practice of failing to appoint counsel for

              indigent defendants when a jail sentence is involved is legal;

              i.       Whether the policy and practice of failing to make any inquiry into

              indigency before imposing fines and costs is legal;

              j.       Whether the policy and practice of failing to give adequate notice of

              the charge and nature of a probation revocation hearing, failing to provide a

              probation revocation hearing, failing to make written findings concerning the

              reasons for revoking probation and the evidence relied upon, failing to hold

              a hearing to determine indigency before revoking probation and otherwise

              imposing incarceration, failing to make written findings concerning an

              individual’s willful nonpayment of fines and costs before imposing

              incarceration for nonpayment, is legal;

              k.       Whether the policy and practice of imposing fines and court costs that

              exceed that statutory maximum for municipal fines is legal;

              l.       Whether the policy and practice of extending “probation” for municipal

              offenses beyond 24 months is legal;

              m.       Whether a municipality can legally enter a no bid contract binding upon

              its municipal court.

       199.   Clanton and JCS have acted on grounds generally applicable to the Class,

thereby making appropriate final injunctive relief or corresponding declaratory relief with

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respect to the Class as a whole.

         200.   Plaintiffs know of no difficulty which will be encountered in the management

of this litigation which would preclude its maintenance as a Class Action. The data

concerning the Class members and the transaction details and amounts on each charge

is largely computerized by Clanton and by its agent JCS.

         201.   The names and addresses of the Class members are a matter of public

record and are also kept by JCS and Clanton and notice can be provided to the Class

members via First Class U.S. Mail or other appropriate means as may be directed by the

Court.

                        COUNT ONE - DENIAL OF DUE PROCESS
                                CITY OF CLANTON

         Plaintiffs incorporate by reference the previous paragraphs and make them a part

hereof.

         202.   The Plaintiffs aver that Clanton, acting under color of state law in violation of

42 U.S.C. § 1983, has denied their right to due process and the rights of the Class

members.

         203.   By contract and its policy and practice, Clanton has delegated many

administrative and judicial functions of its municipal court to its agent JCS, clothing it with

the color of state law for the collection of court fines, costs and private fees.

         204.   That no bid agreement was signed by the City mayor and binds Clanton’s

municipal court stating, “the City and Court enter into this agreement with JCS to provide

probation services upon the terms set forth below, including the following Exhibits:

                Exhibit A - Uniform Standards of Probation Supervision

                Exhibit B - Services Provided by JCS


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                 Exhibit C - Compensation to JCS

        205.     Clanton, through its mayor and/or council, approved the agreements with

JCS.

        206.      Clanton, through its mayor and council, also approved the employment of

John Hollis Jackson III as judge of its municipal court.

        207.     Municipalities are prohibited from laws, ordinances and policies which are in

conflict with state law. See Ala. Code Section 11-45-1. Also see, Ala. Const. Article 4

Section 89.

         208. State law also dictates a separation of the branches of government. Ala.

Const. Article 3, Section 43.3 Under that doctrine, legislative powers granted to cities and

towns are exercised by the city council, Ala. Code, Section 11-43-43, while the mayor of

the city is responsible for executive duties. Ala. Code, Section 11-43-83. If the town

establishes a municipal court, its administration is supervised by the Chief Justice of

Alabama. Ala. Code, Section 12-2-7 et. seq.; Ala Const., Article 6, Section 139.

        209.     Municipal mayors have the executive power to execute and enforce

contracts4 and the city councils have the legislative power to enact regulations and




        3
           Ala. Const. Art. III, Section 43 states:
          In the government of this state, except in the instances in this Constitution hereinafter expressly
directed or permitted, the legislative department shall never exercise the executive and judicial powers, or
either of them; the executive shall never exercise the legislative and judicial powers, or either of them; the
judicial shall never exercise the legislative and executive powers, or either of them; to the end that it may be
a government of laws and not of men.
        4
         Ala. Code Section 11-43-83 - The mayor shall see that all contracts with the town or city are faithfully
kept or performed. He shall execute all deeds and contracts and bonds required in judicial proceedings for
and on behalf or performed. He shall execute all deeds and contracts and bonds required in judicial
proceedings for and on behalf of the city or town and no sureties shall be required on such bond. He shall
perform such other executive duties, in addition to those prescribed in this article, as may be required of him
by the council.

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ordinances,5 but neither the mayor nor the council has the power to invade the

administration of its judiciary.

         210.   Clanton has exceeded its statutory authority and acted in conflict with state

statute and constitutional limitations when, acting through its mayor, it contracted with JCS

to bind its municipal court to include probation and fees for JCS in every court order

entered by its hired judge. That action and the policy and practice which implemented the

JCS system essentially sold the court process for purposes of increasing income to the

city.

         211.   The illegal agreement, policy and practice of Clanton invades and overrides

the judicial authority and court administration reserved to the municipal judge and the Chief

Justice.

         212.   Probation is only appropriate when an individual has been sentenced to jail

time and not when only a fine has been assessed as is the case with some of the Class

members. As a result, the Clanton policy and contract to include probation in every court

order results in a practice which continually deprives indigent misdemeanants of their

constitutional rights.

         213.   The policy and practice of Clanton are also in violation of the Alabama

Constitution. Article I, Section 20 Ala. Const. specifically prohibits imprisonment for the

payment of debts, yet the policy enforced at Clanton regularly jails misdemeanants upon

the recommendation of its agent JCS for failure to pay fines, fees and costs. Article I,

Section 16 Ala. Const. requires that all persons shall before conviction be bailable by



         5
          Ala. Code Section 11-43-43 - All legislative powers and other powers granted to cities and towns
shall be exercised by the council, except those powers conferred on some officers by law or ordinance. The
council shall perform the duties required by this title and other applicable provisions of law.

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sufficient surety, but despite this prohibition, misdemeanants are regularly jailed without

lawful conviction under any contempt proceedings or probation violation.

       214.   Some of the Plaintiffs and Class members were imprisoned, and some

repeatedly, under these policies and practices of Clanton for their failure to pay fines, costs

and the added fees mandated by the illegal contract between Clanton and JCS. None of

the Plaintiffs were accorded any hearing or consideration of their indigency before being

jailed, nor were any provided notice of charges, a hearing on charges levied that might

result in imprisonment, or provided assistance of counsel before being imprisoned.

       215.   At the Clanton Municipal Court, a person unable to fully pay fines and costs

when levied was automatically placed on “probation” with JCS for purposes of collecting

the fine. The Clanton system used the JCS orders and forms even when there is no jail

sentence imposed. This was routinely done with no investigation into the indigency of the

individual or the reasons for their inability to pay the fine and costs. The order forms

supplied by JCS under the agreement with Clanton then required the individual to make

payments to JCS, rather than the city clerk, of the fines, costs and additional monthly fees.

       216.   Clanton, through its city clerks, actively enforced these requirements as part

of its practice including the policy and procedures established under this contract and

remits money to JCS when a JCS “probationer” paid the City the full amount JCS

demanded.

       217.    Clanton, through its contract, practice and policy, has clothed its agent JCS

with the appearances of state authority and has previously allowed JCS employees to carry

badges. Under these practices and policies, JCS employees were allowed to attend each

municipal court session and referred to “probation officers” in the operation of the municipal

court and city clerk’s office, though none have such authority under Alabama statutes.

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       218.   Under this system, policy and practice at Clanton, “offenders” were not

permitted to pay fines at the city clerk’s office, but are instead directed to make all

payments, including those for fines, restitution, probation fees and court costs, to JCS at

the JCS office at hours and locations set by JCS.

       219.   Clanton’s policy and practice also allows JCS to control the money collected

from persons such as Plaintiffs and to determine how much each such municipal court

“offender” must pay each month.

       220.   Clanton’s policy and practice also allows JCS to determine how much of the

collected sums will be credited to the collection “services” of JCS each month and how

much of it will rebate to Clanton toward the municipal court fines adjudged.

       221.   This system, as a matter of routine, violates the rights of persons such as the

Plaintiffs and the classes they seek to represent by imposing fines and charging fees to

indigent persons with no hearing or consideration of their indigency.

       222.   Despite the lack of authority to do so, Clanton’s practice and policy permits

and approves JCS, at its discretion, to use threats of revoking probation, increased fines

and costs, arrest and jail time for purposes of collection.

       223.   Under this system, should an individual fail to pay to the satisfaction of JCS,

Clanton permits and approves JCS setting payment and reporting schedules and

determining when that the individual’s “probation” should be revoked, or when to impose

additional fines and costs.

       224.   Under the system, policy and practice at Clanton, JCS’s determination to

incarcerate an individual and/or impose unreasonable release requirements is routinely

accepted by city personnel without conducting delinquency or probation hearings and

without making any findings, much less any determination of indigency or appointment of

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counsel before taking such punitive action.

       225.   Clanton permitted JCS to control and dictate these functions and, as a

consequence, this routinely resulted in court costs and fines which exceeded the statutory

maximum of $500 for municipal courts. Similarly, the periods of “probation” imposed for

purposes of collecting fines and fees at Clanton routinely exceed the two-year statutory

maximum, all of which result in action to detain and otherwise incarcerate individuals

without any jurisdiction to do so.

       226.   The municipal court judge employed by Clanton does no investigation of

indigency as a matter of practice and policy.

       227.   Under the system at Clanton, after simple fines are illegally converted to

“probation” for payment, jail often results for the “offender” who does not meet the payment

schedule set by JCS and enforced by Clanton. This policy and practice used and accepted

JCS recommendations for the issuance of a warrant of arrest to incarcerate individuals

whose original obligation was only the payment of a fine.

       228.   Under the policy and practice at Clanton, each of the Plaintiffs was first fined,

but then automatically placed on “probation” even though no jail sentence was adjudicated

for most. Though each of the Plaintiffs was indigent, Clanton made no investigation of that

matter. When the Plaintiffs were unable to pay the fines, costs and additional JCS fees

that Clanton agreed to levy, recommendations from JCS were made and followed by

Clanton to incarcerate some of them for undetermined times unless bonds were made in

amounts closely approximating the sums sought by JCS collection efforts.

       229.   Many individuals who could not pay their fines and added fees, such as the

Plaintiffs and Class members, were jailed for the original charge against them - which was

already adjudicated. The folks were jailed without any hearing on willful refusal to pay

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(contempt charge), without a proper revocation hearing in which they were given an

opportunity to present evidence of why they could not pay, and without being given a

lawyer.

       230.    Though a determination of willful refusal to obey a court order as required by

Ala. Code §15-18-62 can lawfully lead to incarceration, no such determinations are made

under the system at Clanton.

       231.    Clanton adopts and implements JCS’s recommendations to revoke a

person’s “probation” and its recommendation to arrest the person and bring them into court

again to explain why they cannot pay. The City accepts JCS’s recommendations and

issues arrest warrants to incarcerate individuals who cannot pay - many of whom had no

jail sentence for their original offense.

       232.    In this process of converting fines to jail time, Clanton does not give adequate

notice to the “offender” of the nature of any lawful charge, its fails to conduct hearings, fails

to make written findings concerning the reasons for any probation revocation or the

evidence relied upon, and fails to make written findings concerning any willful nonpayment

of fines and costs before imposing incarceration for failure to pay fines and costs.

       233.    Under this policy and practice at Clanton, when a simple fine is transformed

into a jail sentence of an undetermined time, the City fails to provide counsel for the

“offenders.”

       234.    After jailing an “offender,” Clanton acts to further violate the Plaintiffs’

constitutional rights by arbitrarily granting early release to some individuals while denying

it to others under similar circumstances without any rational basis other than payments it

has secured. As a result, there is no consistent standard of review or logical system under

which those incarcerated are granted release.

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       235.      As a proximate consequence of this deprivation of due process, the

Plaintiffs and Class members suffered injuries, including having fines converted to jail

sentences, being unlawfully incarcerated for undetermined periods of time with the loss of

their liberty and injury to their dignity, by having fines in excess of statutory limits levied

against them and by having other illegal charges for JCS fees, costs and restitution levied,

all while being indigent.

                                     COUNT TWO
                            DENIAL OF DUE PROCESS BY JCS


       Plaintiffs incorporate by reference the previous paragraphs and make them a part

hereof.

       236.   The Plaintiffs aver that JCS, acting under color of state law in violation of 42

U.S.C. § 1983, has denied them their right to due process and has denied those rights to

the Class members and has done so in concert and by agreement conspiring with Clanton.

       237.   JCS operates a “for profit” enterprise that markets its services to various

municipal and county governments and has contracted with over 100 cities and towns

throughout Alabama, including Clanton. JCS’s marketing approach to these cities

emphasized that its fees will be paid by the “offender” before the municipal court and that

its efforts would improve collection of court fines and costs at no cost to the City.

       238.   JCS routinely used a form contract to establish its relationship with its

customer cities and similarly trains its employees using a training manual replete with forms

for court use and for contacting the “offenders” from whom it is seeking collection. As a

result, the JCS approach is highly systemized and uniform.

       239.   Under the system established by JCS, its employees are not required to have



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criminal justice or legal training, nor are they required to have any social work education

or meet any minimum law enforcement standards as is required of state probation officers.

Instead, JCS requires only that its employees be 21 years old, a non felon, with two years

of college who complete 40 hours of training by JCS on its processes. On satisfying those

requirements, JCS employees are then labeled “Probation Officers” and permitted to carry

the JCS issued badge in collecting its fees, court fines and costs.

       240.      Under this system and by agreement and practice with Clanton, many

administrative and judicial functions of Clanton’s municipal court were unlawfully delegated

to JCS, clothing it with the color of state law for the collection of court fines, costs and

private fees.

       241.      The agreement drafted by JCS and signed by the mayor of Clanton and

JCS attests that the Clanton municipal “court agrees that each court order shall provide for

the following:

                 a probation fee of $35.00 per month flat fee

                 One time probationer set up fee of $10.00. . . . " (emphasis added).

       242.      JCS was, by virtue of this contract and practice with Clanton, clothed with the

appearance of a state actor and its actions were inextricably interwoven with those of

Clanton with which it conspired and acted in concert. Under its contract and its operations

with Clanton, JCS employees represented themselves to the Plaintiffs and Class members

to be “probation officers” acting as agent “on behalf of City of Clanton.”

       243.      The JCS system at Clanton provided “Order of Probation” forms to the

municipal court with the printed requirement on each form that the “offender” pay JCS $35

per month plus $10 for a file set up charge. The orders supplied by JCS required the



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individual to make payments to JCS of the fines, costs and additional monthly fees as

required under its contract with the City.

       244.   Under the JCS contract and procedures, the resulting policy and practice at

Clanton’s municipal court automatically required “probation” for any person who, despite

having no jail sentence, was unable to fully pay the fine and costs when levied by the

municipal court.

       245.   The Plaintiffs were initially placed on “probation” with JCS under this practice

despite the fact that many of the “cases” for which they were on “probation” were offenses

for which there was no sentence for jail time.

       246.   That “probation” requirement, under agreement between JCS and Clanton,

was required to be part of every printed order at Clanton’s municipal court and also

required payment of monthly fees to JCS.

       247.   The policy and practice method of JCS, after requiring probation orders for

those unable to immediately pay their fines and adding additional, monthly fees for JCS,

also imposed incarceration when payment was not forthcoming as JCS demanded.

       248.   Incarceration of individuals who could not pay their fines and added fees,

such as the Plaintiffs and Class members, was accomplished by JCS leveling charges

against them for probation violation and requesting the person be arrested based upon

JCS’s conclusion that the person had not paid as directed.

       249.   Though a determination of willful refusal to obey a court order as required by

Ala. Code §15-18-62 can lawfully lead to incarceration, no such determinations were made

under the JCS system and Clanton’s policy and practice.

       250.   JCS expressly denies any responsibility to determine indigency of the

“offenders” such as the Plaintiffs or to determine any reasons for an inability to pay the fine.

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Therefore, when an “offender” is unable to pay fines and additional fees required by JCS,

JCS and Clanton cooperated with each other to issue arrest warrants requested by JCS

based upon claims of “petitions for revocation of probation.”

       251.   The Plaintiffs were indigent at the time the fines were levied. The Plaintiffs

and the Class members were all unable to pay the fines and fees demanded by JCS due

to their indigency and some were incarcerated as stated in detail in the above facts upon

JCS’s recommendation to its conspirator Clanton which then used its police force to carry

out the arrest.

       252.   The incarceration process used by JCS included the use of JCS drafted

forms that it sent to “probationers” and JCS forms it used to request that a person be

arrested “if necessary.”

       253.   JCS’s recommendations to jail people until a certain sum of money was paid

were then approved by administrative personnel at Clanton without a hearing to determine

indigency, without a hearing to determine willful refusal to pay or any hearing or finding to

determine whether the “probation” was indeed violated.

       254.   The JCS system and its “Probation Tracker” software is highly systemized

and focuses on collections of fines and its fees -- not traditional probation services. That

collection focus allows the “offenders” to mail in payments if they live 30 miles from the

JCS office. The training manual used by JCS instructs its employees on the use of its

computer systems in tracking the payments made by the “offenders” and provides court

forms to order probation and payments to JCS. The JCS training system also provided

sample letters for use after probation was ordered, threatening the “offender” that “a

warrant will be issued for your arrest” and that their “court date cannot and will not be

reset.” Similar JCS forms instructed the “offender” that they could avoid the court date if

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they paid an amount determined by JCS. The Court date itself is also set by JCS with the

City’s knowledge. Similarly, the setting for ”compliance” hearings instituted by JCS was

done uniformly, requiring people, after adjudication, to return to a court hearing to explain

why they could not pay.

       255.   The agreement and forms drafted by JCS are uniformly used by it and were

used at Clanton.

       256.   Clothing JCS with the color of state law and authority was purposely

structured under the JCS system for it to extort and collect its fees, fines and costs from

citizens such as the Plaintiffs, and is accomplished at Clanton by providing JCS control

over the money collected, the payment amount required, schedule of appointments, the

location where the money must be paid and control over how much will be credited for

each payment to the collection “services” of JCS each month as opposed to how much of

it would be rebated to Clanton toward the fines adjudged.

       257.   Despite the lack of authority to do so but in concert with Clanton, JCS, at its

discretion, used threats of revoking probation, increased fines and costs and jail time

for purposes of extorting collection. Under this system, when an individual failed to pay to

the satisfaction of JCS, JCS would determine that the individual’s “probation” should be

revoked. Under the system operated jointly by Clanton and JCS, JCS’ recommendation to

arrest an individual was routinely accepted without conducting delinquency or probation

hearings and without making any findings, much less any determination of indigency or

appointment of counsel before taking such punitive action.

       258.   The actions and efforts of JCS routinely resulted in court costs, fines and fees

which exceed the jurisdictional maximum of $500 for municipal courts. Similarly, the

periods of “probation” imposed for purposes of collecting fines and fees for JCS routinely

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exceed the two-year statutory maximum, all of which resulted in JCS and Clanton taking

action to detain and otherwise incarcerate individuals without any jurisdiction to do so.

       259.    This system at Clanton used JCS’ conclusion of a “probation violation” and

employed JCS’ recommendation for the issuance of warrants to incarcerate individuals

who were poor and could not pay their fines - many of whom had no jail sentence

adjudicated.

       260.    In this process of converting fines to jail time, JCS and Clanton did not

give adequate notice of the nature of any lawful charge, failed to conduct hearings, failed

to make written findings concerning the reasons for revoking probation or the evidence

relied upon, and failed to make written findings concerning any willful nonpayment of fines

and costs before imposing incarceration for failure to pay fines and costs.

       261.    Under this joint policy and practice of JCS and Clanton, when a simple

fine was transformed into a jail sentence of an undetermined time, JCS and Clanton

also failed to provide counsel for the “offenders.”

       262.    After jailing an “offender,” JCS and Clanton acted to further violate the

Plaintiff and Class members’ constitutional rights by arbitrarily granting early release to

some individuals while denying it to others under similar circumstances without any rational

basis based upon the whim of JCS and payments it has secured. As a result, there was

no consistent standard of review or logical system under which those incarcerated were

granted release.

       263.    Under the practice and policy of JCS used at Clanton, after a fine is levied,

additional fees, costs and other charges were added to the “offender” bill with JCS.

       264.    In some cases, under the practice and policy of JCS, even where there had

been a deferred adjudication, the accused were nonetheless required to pay JCS fees.

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       265.   Even in cases where a charge was dismissed, costs and fees for JCS would

be levied and collection pursued through threats and repeated incarceration.

       266.   As a proximate consequence of this deprivation of due process, the Plaintiffs

and Class members suffered injuries including having fines converted to jail sentences,

being unlawfully incarcerated for undetermined periods of time with the loss of their liberty

and injury to their dignity, by having fines in excess of statutory limits levied against them

and by having other illegal charges for JCS fees, costs and restitution levied all while being

indigent.

       267.   JCS continued its policies and practices of wholesale violation of the rights

of indigent persons in the Clanton court system, as well as in scores of other municipal

courts throughout the state of Alabama. The JCS system remained in place unabated in

Clanton, with JCS capriciously requesting jail time and revocation of probation for Failure

to Pay JCS until the end of May 2015.

       268.   As a proximate consequence of this deprivation of due process, the Plaintiffs

and Class members suffered injuries, including having fines converted to jail sentences,

being unlawfully incarcerated for undetermined periods of time with the loss of their liberty

and injury to their dignity, by having fines in excess of statutory limits levied against them

and by having other illegal charges for JCS fees, costs and restitution levied, all while being

indigent and without counsel.

                                  COUNT THREE
                      VIOLATION OF THE FOURTH AMENDMENT
                                CITY OF CLANTON

       Plaintiffs incorporate by reference the previous paragraphs and make them a part

hereof.



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        269.     The Plaintiffs aver that Clanton, acting under color of state law in violation of

42 U.S.C. § 1983, has violated their Fourth Amendment rights and the rights of the Class

members to be free from unreasonable seizure.

        270.     By contract as discussed in detail above, Clanton by its contract, policy and

practice has illegally delegated many administrative and judicial functions of its municipal

court to its agent JCS, clothing it with the color of state law for the collection of court fines,

costs and private fees.

        271.     In addition to a denial of due process guaranteed the Plaintiffs under the

Fourteenth Amendment, the arrest and detainment of these “offenders” who cannot pay

the fine imposed under this system constitutes a “seizure” in violation of the Fourth

Amendment as well.

        272.     Under Alabama law, a simple fine can only be converted into jail time if the

court makes findings under Ala. Code, Section 15-18-62 (1975) that a defendant has

willfully failed to pay the fines.

        273.     Clanton’s policy and practice of including probation with JCS in every

municipal court order to collect fines created the process by which misdemeanants are

incarcerated without a willfulness hearing as required by Ala. Code, Section 15-18-62 and

in violation of Alabama case law, the Alabama Constitution and the U.S. Constitution.

        274.     Under Alabama case law, the Alabama Constitution and the U.S.

Constitution, an indigent defendant cannot be required to serve jail time for nonpayment

of fines or costs.6

        6
          It is clear as a matter of constitutional law that an indigent defendant cannot be required to serve jail
time for nonpayment of fine and costs. Tate v. Short, 401 U.S. 395 (1971); Lingle v. State, 51 Ala.App. 210,
283 So.2d 660 (1973); Smith v. State 51 Ala.App. 212, 283 So.2d 662 (1973). "To imprison an indigent when
in the same circumstances an individual of financial means would remain free constitutes a denial of equal
protection of the laws." Barnett v. Hopper, 548 F.2d 550, 554 (5th Cir.1977). This is not a case of a defendant

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        275.     Despite longstanding legal precedent prohibiting incarceration for one’s

inability to pay a fine/debt, as part of its policy and practice, Clanton’s personnel working

in conjunction with JCS unlawfully arrested and jailed the plaintiffs for their inability to pay

a simple fine with added fees and costs dictated by the Clanton contract with JCS.

        276.     Under its agreement with JCS and its policy and practice, Clanton’s police,

municipal court processes and jail access all became tools of collection under forms and

processes issued by its agent JCS and which were routinely followed by Clanton.

Clanton’s policy and practice, after clothing its agent JCS with the appearance of state

actor acting on their behalf, allowed JCS to threaten arrest or revocation of probation

and/or incarceration in order to coerce these indigents to pay the city fines and fees for

misdemeanor offenses not otherwise subject to jail time under the original adjudication.

        277.     When these threats failed to produce sufficiently, Clanton police, clerks and

other personnel, cooperated with JCS to arrest and jail the Plaintiffs such as the plaintiffs.

        278.     The jailing of Plaintiffs by Clanton, as described and under the specific facts

stated above, all constitute unlawful seizures in violation of the Fourth Amendment.7




who, though capable of paying a fine, refuses or neglects to do so.

        Although Section 15-22-52, Alabama Code 1975, states that payment of fine and costs may be made
a condition of suspension of sentence or probation, in State v. Esdale, 253 Ala. 550, 45 So.2d 865 (1950),
our Supreme Court indicated that such a condition was contrary to our constitution.
        "These benefits (probation and suspension of sentence) are not the subject of bargain and
        sale to be conditioned on the payment of costs and fees assessed as an incident to the
        prosecution and trial and to condition these benefits on the payment of such costs and fees
        violate the letter and spirit of Section 13 of the Constitution of 1901 which provides that
        'justice shall be administered without sale, denial or delay.'" Esdale, 253 Ala. at 553.

Crutcher v. State, 439 So. 2d 725; 726 (Ala. Crim. App. 1983)

        7
          “Fourth Amendment seizure [occurs] . . . when there is a governmental termination of freedom of
movement through means intentionally applied." (internal quotation marks and emphasis omitted)); Oliver,
510 U.S. at 274 (plurality opinion) ("The Framers considered the matter of pretrial deprivations of liberty and
drafted the Fourth Amendment to address it.").

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       279.    As a proximate consequence of this unlawful seizure, the Plaintiffs and Class

members suffered injuries, including having fines converted to jail sentences, being

unlawfully incarcerated for undetermined periods of time with the loss of their liberty and

injury to their dignity, all while being indigent.

                                   COUNT FOUR
                       VIOLATION OF THE FOURTH AMENDMENT
                                       JCS

       Plaintiffs incorporate by reference the previous paragraphs and make them a part

hereof.

       280.    The Plaintiffs aver that JCS, acting under color of state law in violation of 42

U.S.C. § 1983, has violated their Fourth Amendment rights and the rights of the Class

members to be free from unreasonable seizure and has done so in concert and by

agreement conspiring with Clanton.

       281.    By contract, policy and practice as discussed in detail above, Clanton illegally

delegated many administrative and judicial functions of its municipal court to its agent JCS,

clothing it with the color of state law for the collection of court fines, costs and private fees.

       282.    In addition to a denial of due process guaranteed the Plaintiffs and class

members under the Fourteenth Amendment, the arrest and detainment of these

“offenders” who could not pay the fines imposed under this system constitutes a “seizure”

in violation of the Fourth Amendment as well.

       283.    Under Alabama law, a fine can only be converted into jail time if the court

makes findings under Ala. Code Section 15-18-62 (1975) that a defendant has willfully

failed to pay the fines. Even there, the statute provides specifics as to potential jail time.

       284.    Under the system created and implemented by JCS at Clanton, there is no



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hearing to determine if an “offender” had willfully refused to pay nor any consideration of

indigency and factors preventing payment.

        285.     Under the system created and implemented by JCS at Clanton, every person

who was unable to pay a simple fine and costs in full was placed on “probation.” Though

their inability to pay the fine in full gave immediate notice of the “offenders” financial

limitations, the JCS system added further costs and fees each month to these “offenders”

who were already unable to pay the fines levied. The result increased the financial burden

of persons who were accused of no more than traffic violations or misdemeanors.

        286.     Under Alabama case law, the Alabama Constitution and the U.S.

Constitution, an indigent defendant cannot be required to serve jail time for nonpayment

of fines or costs.8

        287.     Despite longstanding law prohibiting incarceration for one’s inability to pay

a fine/debt, JCS requested the arrest warrants for the Plaintiffs and many Class members

when JCS knew these people could not pay the fines and fees JCS demanded and despite

the fact that many had no jail time assessed on their original conviction.


        8
            It is clear as a matter of constitutional law that an indigent defendant cannot be required to serve
jail time for nonpayment of fine and costs. Tate v. Short, 401 U.S. 395 (1971); Lingle v. State, 51 Ala.App. 210,
283 So.2d 660 (1973); Smith v. State 51 Ala.App. 212, 283 So.2d 662 (1973). "To imprison an indigent when
in the same circumstances an individual of financial means would remain free constitutes a
denial of equal protection of the laws." Barnett v. Hopper, 548 F.2d 550, 554 (5th Cir.1977). This is not a case
of a defendant who, though capable of paying a fine, refuses or neglects to do so.

        Although Section 15-22-52, Alabama Code 1975, states that payment of fine and costs may be
        made a condition of suspension of sentence or probation, in State v. Esdale, 253 Ala. 550, 45 So.2d
        865 (1950), our Supreme Court indicated that such a condition was contrary to our constitution.
        "These benefits (probation and suspension of sentence) are not the subject of bargain
        and sale to be conditioned on the payment of costs and fees assessed as an incident to
        the prosecution and trial and to condition these benefits on the payment of such costs and
        fees violate the letter and spirit of Section 13 of the Constitution of 1901 which provides
        that 'justice shall be administered without sale, denial or delay.'" Esdale, 253 Ala. at 553.

Crutcher v. State, 439 So. 2d 725; 726 (Ala. Crim. App. 1983)


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        288.     Unless prompt payment of its fees and fines was made as determined by

JCS, JCS took steps to have the “probation” revoked beginning the process of

incarcerating an individual who otherwise would never have seen jail under the original

adjudication.9

        289.     The Plaintiffs and many Class members were unlawfully jailed at Clanton

under the JCS process as described and under the specific facts as stated above, all of

which constitute unlawful seizures in violation of the Fourth Amendment.

        290.     As a proximate consequence of this unlawful seizure, the Plaintiff and Class

members suffered injuries, including having fines converted to jail sentences, being

unlawfully incarcerated for undetermined periods of time with the loss of their liberty and

injury to their dignity, all while being indigent and without counsel.


                                       COUNT FIVE
                           VIOLATION OF THE SIXTH AMENDMENT
                                    CITY OF CLANTON

        Plaintiffs incorporate by reference the previous paragraphs and make them a

part hereof.

        291.     The Plaintiffs aver that Clanton, acting under color of state law in violation of

42 U.S.C. § 1983, has violated their Sixth Amendment rights and the rights of the Class

members.

        292.     By contract, its policy and practice as discussed in detail above, Clanton has

illegally delegated many administrative and judicial functions of their municipal court to its



        9
           “Fourth Amendment seizure [occurs] . . . when there is a governmental termination of freedom
of movement through means intentionally applied." (internal quotation marks and emphasis omitted));
Oliver, 510 U.S. at 274 (plurality opinion) ("The Framers considered the matter of pretrial deprivations of
liberty and drafted the Fourth Amendment to address it.").

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agent JCS, clothing it with the color of state law for the collection of court fines, costs and

private fees.

       293.     Under the policy and practice at Clanton, when a simple fine is transformed

into a jail sentence of an undetermined time, counsel is not provided for the indigent

“offenders.”

       294.     Each of the named Plaintiffs was initially ordered to pay a fine at the Clanton

Municipal Court, but due to their inability to immediately pay, each was placed on

“probation” under JCS pursuant to JCS form orders, and the contract, policy and practice

approved by Clanton.

       295.     The contract signed by Clanton approved a “probation” process as a

collection vehicle for the City to collect its fines. That agreement, as discussed above,

conflicts with state statutes, violates state constitutional requirements for separation of

power in the branches of government, and exceeds the authority of the mayor and council.

       296. Under that agreement, its policy and practices, Clanton allows JCS to add

monthly fees to the “offender” who has already disclosed an inability to pay the fine when

adjudicated and even though JCS provides no services to them.

       297.     Under the agreement, its practices and with the knowledge and approval of

Clanton, JCS represents itself as acting on behalf of the City which clothes it with that

appearance.

       298.     Under this agreement, its policies and practices, Clanton unlawfully invaded

the province of the municipal court and mandated that each order there contain provisions

for fees to JCS.

       299.     By this agreement, its policies and practices, simple fines, even those without

jail sentences, are automatically and illegally converted to probation under the JCS with

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which it contracts if the offender cannot promptly pay the entire fine and costs.

         300.   After this conversion from a fine to probation under this scheme and practice,

threats of jail are used by JCS with the approval of Clanton and actual incarceration then

takes place by police and other city personnel if the fines, fees and costs are not paid as

scheduled.

         301.   The jeopardy of jail vanishes when money is paid and jail time would not have

been present but for Clanton’s policy and practice adopting and using the JCS collection

system in the administration of its court system illegally requiring “probation” for simple

fines.

         302.   With the Plaintiffs’ inability to pay and Clanton’s focus on collections, arrest

warrants are routinely issued stating that the person should be arrested on the original

charge - a charge that has already been adjudicated - many of which were minor traffic

offenses. These arrests are requested by JCS under its system and then approved by

Clanton personnel.

         303.   At that point, jail sentences become potential jeopardy for the “offenders”

such as the Plaintiffs on charges that have already been adjudicated but for which no

arrest is requested if money is paid.

         304.   At the point when jail sentences become potential, Clanton does not provide

notice of charges, nor are findings made as required for conviction or probation violation.

Similarly, though JCS also regularly proposes a warrant be issued based on the person’s

non payment which Clanton then pursues, that is not a valid basis. If willful failure to pay

under state statutes such as Ala. Code Section 15-18-62 is used as the basis, under the

Clanton’s policy and practice with JCS, there is no finding or hearing on the issue of

willfulness.

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       305.   The named Plaintiffs like other class members, while indigent, were

unlawfully jailed by Clanton under this JCS system and was not provided any assistance

of counsel in the process leading to their incarceration.

       306.   These actions constitute a denial of the Plaintiffs’ rights secured by the Sixth

Amendment.

       307.   As a proximate consequence of this violation of their Sixth Amendment rights,

the Plaintiffs and Class members suffered injuries, including having fines converted to jail

sentences, being unlawfully incarcerated for undetermined periods of time with the loss of

their liberty and injury to their dignity, by having fines in excess of statutory limits levied

against them and by having other illegal charges for JCS fees, costs and restitution levied,

all while being indigent.

                                    COUNT SIX
                        VIOLATION OF THE SIXTH AMENDMENT
                                       JCS


       Plaintiffs incorporate by reference the previous paragraphs and make them a part

hereof.

       308.   The Plaintiffs aver that JCS acting under color of state law in violation of 42

U.S.C. § 1983, has violated their Sixth Amendment rights and the rights of the Class

members and has done so in concert and by agreement conspiring with Clanton.

       309.   By contract, policy and practice as discussed in detail above, Clanton illegally

delegated many administrative and judicial functions of its municipal court to JCS, clothing

it with the color of state law for the collection of court fines, costs and private fees.

       310.   Under this joint policy and practice of JCS at Clanton when a simple fine as

transformed into a jail sentence of an undetermined time, counsel was not provided for the


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indigent “offenders.”

         311.   The Plaintiffs were initially levied fines at the Clanton Municipal Court, but

due to their inability to immediately pay, they were placed on “probation” under JCS

pursuant to JCS form orders and its contract with the City.

         312.   The “probation” process at JCS was essentially a collection vehicle for

Clanton which added monthly fees to the “offender” who had already disclosed an inability

to pay the fine. JCS provided no services to the Plaintiffs, but represented itself as acting

on behalf of Clanton which clothed it with that appearance.

         313.   JCS denies any responsibility to investigate the indigency of the “offenders”

and thus took no action to determine or consider disabilities, employment status or other

reasons justifying non payment.

         314.   Simple fines were automatically and illegally converted to “probation” under

the JCS system used at Clanton if the offender could not promptly pay the entire fine and

costs.

         315.   After this conversion from a fine to probation, JCS made threats of jail and

actual incarceration if the fines, fees and costs were not paid as demanded by JCS.

         316.   The jeopardy of jail vanishes when money is paid and jail time would not have

been present but for Clanton’s policy and practice adopting and using the JCS collection

system in the administration of its court system illegally requiring “probation” for simple

fines.

         317.   With the Plaintiffs’ inability to pay and the JCS’ focus on collections, arrest

warrants are routinely issued stating that the person should be arrested on the original

charge - a charge that has already been adjudicated - many of which were minor traffic

offenses. These warrant requests are initiated by JCS under its system and then approved

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by Clanton personnel.

       318.       At that point, jail sentences become potential jeopardy for the “offenders”

such as the Plaintiffs on charges that have already been resolved but for which no arrest

is requested if money is paid.

       319.       At the point jail sentences were potential, the JCS system used at Clanton

did not provide notice of charges, nor are findings made as required for conviction or

probation revocation. Similarly, though JCS also regularly requests a warrant be issued

based on the person’s non payment which Clanton then pursues, that is not a valid basis.

If willful failure to pay under state statutes such as Ala. Code Section 15-18-62 is used as

the basis, under the Clanton’s system with JCS, there is no finding or hearing on the issue

of willfulness.

       320.       The named Plaintiffs like other class members, while indigent, were

unlawfully arrested and jailed by Clanton under this JCS system and were not provided any

assistance of counsel in the process leading to their incarceration.

       321.       These actions constitute a denial of the Plaintiffs’ rights secured by the Sixth

Amendment.

       322.       As a proximate consequence of this violation of their Sixth Amendment rights,

the Plaintiffs and Class members suffered injuries, including having fines converted to jail

sentences, being unlawfully incarcerated for undetermined periods of time with the loss of

their liberty and injury to their dignity, by having fines in excess of statutory limits levied

against them and by having other illegal charges for JCS fees, costs and restitution levied,

all while being indigent.




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                                  COUNT SEVEN
                       VIOLATION OF THE EIGHTH AMENDMENT
                                CITY OF CLANTON

       Plaintiffs incorporate by reference the previous paragraphs and make them a part

hereof.

       323.    The Plaintiffs aver that Clanton, acting under color of state law in violation of

42 U.S.C. § 1983, has violated the Eighth Amendment prohibition against excessive fines,

bail and cruel and unusual punishment in its actions with the Plaintiffs and Class members

and did so as a matter of policy and practice in concert and by agreement conspiring with

JCS.

       324.    As discussed in detail above, by its agreement, policy and practice, Clanton

has illegally delegated many administrative and judicial functions of their municipal court

to its agent JCS, clothing it with the color of state law for the collection of court fines, costs

and private fees.

       325.    The Eighth Amendment prohibits cruel and unusual punishment and, as

such, limits the kinds of punishment that can be imposed on those convicted of crimes,

proscribes punishment grossly disproportionate to the severity of the crime and imposes

substantive limits on what can be made criminal and punished as such and prohibits

excessive bail.

       326.    Under Alabama law, a municipal court has no authority to award a fine on any

particular charge over $500, Ala. Code § 13A-5-12(a)(3), and even lawful probation for

misdemeanors cannot, by statute, extend beyond a two-year period. See Ala. Code § 15-

22-54(a).

       327.    As mentioned above, Ala. Code § 15-18-62 is the only statutory method



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under which a fine levied by a court on adjudication can be converted to imprisonment, but

that can legally occur only where the court finds willful nonpayment of the fine and cost.

       328.   Even upon proper notice and a finding of willful nonpayment under § 15-18-

62, the conversion of fine to imprisonment has a specific ratio such that a fine not to

exceed $500 shall result in no more than 20 days. See Ala. Code § 15-18-62(2).

       329.   Rule 26.11 of the Alabama Rules of Criminal Procedure provides the method

for dealing with fines, restitution and the failure to pay under a variety of circumstances,

none of which were followed by Clanton.

       330.   Under these facts, Clanton illegally contracted with JCS to add monthly fees

and costs to each municipal court order. This agreement and the policy and practice of the

City in its implementation increased the substantial fines levied against indigent persons

such as the Plaintiffs.

       331.   Neither Clanton, nor its agent JCS, made inquiry into the indigency of the

“offenders” in the system. As a result, only the Plaintiffs’ failure to make payments as

dictated resulted in threats of arrests. If threats failed to produce the demanded payments,

arrest and incarceration followed under the policy and practice at Clanton based upon

JCS’s recommendation that the offender had failed to pay money.

       332.   These fines often exceeded the statutory limits of the municipal court and the

incarceration periods imposed for the failure to pay exceeded those in Ala. Code §15-18-

62.

       333.   Before being arrested, JCS, with the City, calculates the amount claimed to

be owed for fines, fees and costs which is then used to approximate the cash bail amount

required for release. This cash bond requirement is made without consideration of factors



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justifying release on recognizance or other factors provided for under Ala. Rule Crim. Pro.

7.2. This practice results in excessive bail requirements in violation of the Eighth

Amendment.

       334.   The practice and policy of imposing jail time for an inability to pay its fees,

fines and costs violates the Eighth Amendment prohibition against excessive fines and

cruel and unusual punishment.

       335.   Each of the named Plaintiffs was at all pertinent times indigent and some

were incarcerated by city personnel for their inability to pay fines, fees and costs.

       336.   As a result of the violation of the Eighth Amendment, each of the Plaintiffs

was subjected to excessive fines, fees, and costs in violation of the prohibition against

excessive fines and cruel and unusual punishment.

       337.   As a proximate consequence of this violation of their Eighth Amendment

rights, the Plaintiffs suffered injuries, including having fines converted to jail sentences,

being unlawfully incarcerated for undetermined periods of time with the loss of their liberty

and injury to their dignity, by having fines in excess of statutory limits levied against them

and by having other illegal charges for JCS fees, costs and restitution levied, all while being

indigent.

                                 COUNT EIGHT
                      VIOLATION OF THE EIGHTH AMENDMENT
                                      JCS

       Plaintiffs incorporate by reference the previous paragraphs and make them a part

hereof.

       338.   The Plaintiffs aver that JCS, acting under color of state law in violation of 42

U.S.C. § 1983, has violated the Eighth Amendment prohibition against excessive fines,



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excessive bail and cruel and unusual punishment in its actions with the Plaintiff and Class

members and did so in concert and by agreement conspiring with Clanton.

       339.    By contract, policy and practice as discussed in detail above, Clanton illegally

delegated many administrative and judicial functions of its municipal court to its agent JCS,

clothing it with the color of state law for the collection of court fines, costs and private fees.

       340.    The Eighth Amendment prohibits cruel and unusual punishment and, as

such, limits the kinds of punishment that can be imposed on those convicted of crimes,

proscribes punishment grossly disproportionate to the severity of the crime and imposes

substantive limits on what can be made criminal and punished as such and prohibits

excessive bail.

       341.    Under Alabama law, a municipal court has no authority to award a fine on any

particular charge over $500, Ala. Code § 13A-5-12(a)(3), and even lawful probation for

misdemeanors cannot, by statute, extend beyond a two-year period. See Ala. Code § 15-

22-54(a).

       342.    As mentioned above, Ala. Code § 15-18-62 is the only statutory method

under which a fine levied by a court on adjudication can be converted to imprisonment, but

that can legally occur only where the court finds willful nonpayment of the fine and cost.

       343.    Even upon proper notice and a finding of willful nonpayment under §

15-18-62, the conversion of fine to imprisonment has a specific ratio such that a fine not

to exceed $500 shall result in no more than 20 days. See Ala. Code § 15-18-62(2). Rule

26.11 of the Alabama Rules of Criminal Procedure provides the method for dealing with

fines, restitution and the failure to pay under a variety of circumstances, none of which

were followed under the JCS system at Clanton.



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       344.   Under these facts, JCS, operating under an illegal contract with Clanton,

increased the financial burden on the Plaintiffs by adding additional monthly fees and costs

to their balance after fines were levied against these indigent persons. For the Plaintiffs

and Class members, the total amounts demanded by JCS regularly exceeded the $500

limitation on the municipal court authority.

       345.   Under the JCS extortion system at Clanton, though JCS knew that the

“probationers” were poor, unemployed, receiving disability checks, or in jail which made

them unable to make payments, JCS routinely requested that they be arrested or brought

to court because they could not pay as JCS demanded.

       346.   The Plaintiffs and Class members were all indigent and their failure to pay

JCS as demanded systematically resulted in threats of arrests and ultimately incarceration

based upon JCS’s recommendation that the offender be arrested for their failure to pay.

       347.   These fines and fees levied against the Plaintiffs and Class members

exceeded the statutory limits of the court and the incarceration periods imposed for the

failure to pay exceeded those in Ala. Code §15-18-62.

       348.   These fines exceeded the statutory limits of the municipal court and the

incarceration periods imposed for the failure to pay exceeded those in Ala. Code

§15-18-62.

       349.   The practice and policy of JCS in instituting charges and requesting jail time

for inability to pay its fees, fines and costs violate the Eighth Amendment prohibition

against excessive fines and cruel and unusual punishment.

       350.   The Plaintiffs and Class members were, at all pertinent times, indigent.

Despite their indigency, many Class members were incarcerated at the behest of JCS for



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their inability to pay fines, fees and costs on the schedule determined by JCS, though

many had initially only received fines by the Clanton Municipal Court.

       351.   Before being arrested, JCS, with the City, calculates the amount claimed to

be owed for fines, fees and costs which is then used to approximate the cash bail amount

required for release. This cash bond requirement is made without consideration of factors

justifying release on recognizance or other factors provided for under Ala Rule Crim Pro.

7.2. This practice results in excessive bail requirements in violation of the Eighth

Amendment.

       352.   As a result of the violation of the Eighth Amendment, the Plaintiffs were

subjected to excessive fines, fees, and costs beyond the jurisdictional limits of the

municipality and violation of the prohibition against excessive fines and cruel and unusual

punishment and excessive bail.

       353.   As a proximate consequence of this violation of their Eighth Amendment

rights, the Plaintiffs and Class members suffered injuries, including having fines converted

to jail sentences, being unlawfully incarcerated for undetermined periods of time with the

loss of their liberty and injury to their dignity, by having fines in excess of statutory limits

levied against them and by having other illegal charges for JCS fees, costs and restitution

levied, all while being indigent and without counsel.

                                     COUNT NINE
                            DENIAL OF EQUAL PROTECTION
                                  CITY OF CLANTON

       Plaintiffs incorporate by reference the previous paragraphs and make them a part

hereof.

       354.   Clanton has acted under color of state law in violation of 42 U.S.C. § 1983



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to deny the Plaintiffs’ and Class members’ rights to equal protection secured by the

Fourteenth Amendment.

       355.   This is accomplished by the illegal contractual agreement Clanton has with

JCS and its policy and practice in implementing that contract. Under that agreement, the

actions of its agent JCS are inextricably intertwined in a practice and policy at Clanton.

That practice and policy automatically requires “probation” for any person who, despite

having no jail sentence, is financially unable to fully pay the fine and costs when levied by

the municipal court. That probation requirement is part of the agreement between Clanton

and JCS and is part of every printed order at the municipal court and requires payment of

monthly fees to JCS.

       356.   Persons who are financially able to fully pay the levied fine and costs at

Clanton are not placed on “probation” - and are not given jail sentences for minor crimes.

As a result, those persons are not charged any fees for JCS and are not subjected to

threats of arrest and incarceration in the collection process. Furthermore, once the fines,

fees and costs are fully paid, the probation is terminated.

       357.   For those such as the Plaintiffs who are unable to fully pay the fine and costs

when levied by the municipal court, not only are they required to come to court for traffic

tickets, and charged court costs, they are also put on “probation” with JCS.

       358.   This requirement was part of the Clanton contract and its policy practice with

JCS. That contract, as mentioned above, exceeds the statutory and constitutional authority

of municipalities and imposes on the municipal court an agreement in violation of the

separation of powers doctrine between the branches of government.

       359.   Once on “probation” for purposes of paying a fines and costs, this policy and

practice at Clanton routinely imposes incarceration and additional costs on individuals who

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are unable to pay fines and costs, without any determination of willfulness as would lawfully

be required under Alabama statutes. See Ala. Code Section 15-18-62.

       360.   This disparate treatment based upon the wealth of the “offender” before the

municipal court is a violation of equal protection and cannot be justified on any legitimate

rational state interest basis.

       361.   This inequality of treatment is also beyond the authority of the municipal court

which is required by Alabama statute to uniformly process traffic infractions and penalties

for misdemeanors in accordance with specified maximum fines. See Ala. Code Section

12-14-8. The policy and practice at Clanton is not uniform with the procedures established

by the Alabama Administrative Office of Courts because it adds fees only to “offenders”

who cannot pay immediately and creates its own “rules” for penalizing individuals who

cannot pay as directed.

       362.   These additional JCS fines result in disparate treatment between those who

can immediately pay the fine from those who are unable to immediately pay the fine.

Furthermore, those “offenders” at Clanton with its JCS system, are processed and fined

differently than “offenders” in jurisdictions that have not allowed JCS to charge additional

fees to those who cannot pay. There is no state authority for such disparate treatment.

       363.   Each of the Plaintiffs was required to pay the additional costs and fees under

this disparate system and the named Plaintiffs were unlawfully jailed for their inability to

pay as demanded.

       364.   As a proximate consequence of this denial of the right to equal protection

under the Fourteenth Amendment, the Plaintiffs and Class members suffered injuries,

including having fines converted to jail sentences, being unlawfully incarcerated for



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undetermined periods of time with the loss of their liberty and injury to their dignity, by

having fines in excess of statutory limits levied against them and by having other illegal

charges for JCS fees, costs and restitution levied, all while being indigent.

                                     COUNT TEN
                           VIOLATION OF EQUAL PROTECTION
                                         JCS

       Plaintiffs incorporate by reference the previous paragraphs and make them a part
hereof.

       365.     JCS and Clanton have acted jointly under color of state law in violation of 42

U.S.C. § 1983 to deny the Plaintiffs and Class members’ rights to equal protection secured

by the Fourteenth Amendment and have done so in concert and by agreement conspiring

with Clanton.

       366.     JCS, though a private company, has been clothed with the color of state law

by the specific actions, policy and practices of Clanton, and pursuant to an agreement

between these parties.

       367.     As referenced above, by agreement, policy and practice at Clanton, JCS

employees attended all municipal court sessions, collected city fines and costs, were

labeled as “probation officers” and regularly represented themselves as acting “on behalf

of the City of Clanton.” Additionally, the JCS forms were used at the municipal court and

fees for JCS were included in every court order there.

       368.     In the system established by an illegal agreement between JCS and Clanton,

the actions of JCS were inextricably intertwined with those of its conspirator Clanton.

       369.     The practice and policy under this agreement automatically required

“probation” for any person who, despite having no jail sentence, was financially unable to

fully pay the fine and costs when levied by the municipal court. That probation requirement


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was part of the agreement and practice between JCS and Clanton and was a required part

of every printed order at the municipal court and required payment of monthly fees to JCS.

       370.   Persons who were financially able to fully pay the levied fine and costs at

Clanton were not placed on “probation.” As a result, those persons were not charged any

fees for JCS and were not subjected to threats of arrest and incarceration in the collection

process.

       371.   For those such as the Plaintiffs and Class members who were unable to fully

pay the fine and costs when levied by the municipal court, “probation” fees under JCS was

required on every court order.

       372.   This requirement on its municipal court was part of the JCS drafted contract

with the City. That contract, as discussed above, exceeded the statutory and constitutional

authority of municipalities and imposed on the municipal court an agreement in violation

of the separation of powers doctrine between the branches of government as embodied

in the Alabama Constitution. Ala. Const, Article 3, Section 43.

       373.   Once on “probation” for purposes of paying a fines and costs, this policy and

practice at Clanton routinely imposed incarceration and additional costs on individuals who

were unable to pay fines and costs, without any determination of willfulness as lawfully

required under Alabama statutes. See Ala Code, Section 15-18-62.

       374.   This disparate treatment based upon the wealth of the “offender” before the

municipal court was a violation of equal protection and cannot be justified on any legitimate

rational state interest basis.

       375.   This inequality of treatment was also beyond the authority of the municipal

court which is required by Alabama statute to uniformly process traffic infractions and



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penalties for misdemeanors in accordance with specified maximum fines. See Ala. Code

Section 12-14-8. The JCS system at Clanton was not uniform with the procedures

established by the Alabama Administrative Office of Courts because it added fees only to

“offenders” who could not pay immediately and created its own

      376.   These additional JCS fees resulted in disparate treatment between those who

could immediately pay the fine from those who were unable to immediately pay the fine.

Furthermore, those “offenders” within the Clanton/JCS arrangement were processed and

fined differently than “offenders” in jurisdictions that have not allowed JCS to charge

additional fees to those who cannot pay. There is no state authority for such disparate

treatment.

      377.   The Plaintiffs and Class members were required to pay the additional costs

and fees under this disparate system. Arrest warrants were issued and many Class

members were unlawfully jailed for their inability to pay as demanded.

      378.   As a proximate consequence of this denial of the right to Equal Protection

under the Fourteenth Amendment, the Plaintiffs and Class members suffered injuries,

including having fines converted to jail sentences, being unlawfully incarcerated for

undetermined periods of time with the loss of their liberty and injury to their dignity, by

having fines in excess of statutory limits levied against them and by having other illegal

charges for JCS fees, costs and restitution levied, all while being indigent and without

counsel.

                                COUNT ELEVEN
                      DECLARATORY AND INJUNCTIVE RELIEF
                       BOTH JCS AND THE CITY OF CLANTON

      Plaintiffs incorporate by reference the previous paragraphs and make them a part



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hereof.

           379.   A real controversy exists between these parties concerning several issues,

including the validity of Clanton’s attempt to bind its municipal court and the legality of the

actions taken in contracting with JCS, such that declaratory relief is appropriate.

                  Contract between the City and JCS is void

           380.   Plaintiffs request the Court to declare that Clanton had no authority to

contractually bind their municipal court.

                  City does not have the power to bind the Court

           381.   Clanton entered into an agreement with JCS that exceeded both its statutory

and constitutional limitations on municipalities. Furthermore, that agreement violated the

separation of powers doctrine embodied in the Alabama Constitution. See Ala. Const.,

Article 3, Section 43.      As a result, that agreement was void and due to be declared a

nullity.

           382.   Alabama state law also dictates a separation of the branches of government.

Ala. Const., Article 3, Section 43. Under that doctrine, legislative powers granted to cities

and towns are exercised by the city council, Ala. Code Section 11-43-43, while the mayor

of the city is responsible for executive duties. Ala. Code, Section 11-43-83. If the town

establishes a municipal court, its administration is supervised by the Chief Justice of

Alabama. Ala. Code Section 12-2-7 et. seq.; Ala. Const., Art. 6, Section 139

           383.   A city’s mayor, such as Clanton’s mayor, has the executive power to execute

and enforce contracts and the city council has the legislative power to enact regulations

and ordinances, but neither the mayor nor the council has the power to invade the

administration of its judiciary.



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       384.   Clanton has exceeded its statutory authority and acted in conflict with state

statute and constitutional limitations when, acting through its mayor, it agreed to require

its municipal court to include probation and fees for JCS in every court order entered by

its hired judge. That action essentially sold the court process for purposes of increasing

income to the City.

              Contract violates statutory limitation regarding traffic citations and
              municipal fines

       385.   That agreement also violated the uniformity required by statute for processing

traffic infractions and penalties for misdemeanors in accordance with specified maximum

fines. See Ala. Code Section 12-14-8.

       386.   The process at Clanton was not uniform with the procedures established by

the Alabama Administrative Office of Courts because it adds fees only to “offenders” who

cannot pay immediately and creates other “rules” for further penalizing individuals who

cannot pay as directed. “Offenders” who were able to immediately pay the fine are

charged one rate, but those that are unable to immediately pay for the same offense are

charged the fine and required to pay JCS monthly fees that accumulate each month that

passes.

       387.   The “offenders” at Clanton were processed and fined differently than

“offenders” in municipal jurisdictions which had not contracted for JCS to charge its fees

to those who cannot pay and, as a result, violates uniformity requirements of Ala. Code

Section 12-14-8.

              Contract overrides judicial authority and administration of municipal
              courts reserved to the Chief Justice

       388.   The illegal agreement and policy of Clanton invades and overrides the judicial



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authority and court administration reserved to the municipal judge and the Chief Justice.

              Contract is an exclusive franchise

       389.   The contract between JCS and the City of Clanton grants an exclusive

franchise for provision of probation services.

       390.   The contract was not competitively bid, as required by Ala. Const. Art. I, § 22

and Ala. Code 1975; Ala. Code, §41-16-50.

       391.   Because the contract was not bid, it is void and unenforceable.

       392.   Plaintiffs also request the Court to declare the actions of Clanton under this

contract to be unconstitutional under the premises discussed above. Under this void

agreement, Clanton has implemented policies and practices to prosecute persons such as

the Plaintiffs where there is no jurisdiction or authority to do so under Alabama law, doing

so intentionally in an effort to coerce payment of fines and costs from indigent people.

These efforts have resulted in the illegal prosecution and incarceration of the Plaintiffs and

their Class beyond the limited jurisdiction of the municipal courts.

       393.   Further, Clanton has added increased punishment, fines and costs after

adjudication and even where there has been no adjudication of guilt, all without jurisdiction

or authority for such under Alabama law.

       394.   Clanton has systematically applied Ala. Code § 15-18-62 in an

unconstitutional fashion, denying the Plaintiffs and the Class they seek to represent

constitutionally protected rights.

       395.   Section 15-18-62 provides for the imprisonment for the failure to pay fines




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and costs in limited circumstances and only upon the finding of a willful nonpayment.10

       396.    Under the policies and practices at Clanton, “offenders” before the municipal

court, such as the Plaintiffs and the Class they seek to represent, were systematically

imprisoned for nonpayment with no determination of willfulness and with no consideration

of their indigency or ability to pay.

       397.    Furthermore, once imprisoned, the requirements of time to be served under

§ 15-18-62 are ignored by the practice and policy of Clanton.

       398.    The result of this consistent systematic policy and practice of Clanton is

essentially a debtor’s prison for fines and charges levied.

       399.    Plaintiffs request the Court to enjoin the actions of Clanton identified herein

to prevent the continuation of these violations of statutory and constitutional prohibitions.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully pray that the Court

will take jurisdiction of this cause and upon the final hearing:

               a.       Certify this matter as a proper class action maintainable under Rule

                        23 of the Federal Rules of Civil Procedure for a plaintiff class;

               b.       Award the Plaintiffs such damages as this Court shall find the



       10
         Section 15-18-62
        Imprisonment for failure to pay fines and costs.

       In cases of willful nonpayment of the fine and costs, the defendant shall either be imprisoned in the
       county jail or, at the discretion of the court, sentenced to hard labor for the county as follows:

       (1) If the fine and costs do not exceed two hundred fifty dollars ($250), no more than 10 days;

       (2) If the fine and costs exceed two hundred fifty dollars ($250) but do not exceed five hundred dollars
       ($500), no more than 20 days;

       (3) If the fine and costs exceed five hundred dollars ($500), but do not exceed one thousand dollars
       ($1,000), no more than 30 days; and

       (4) For every additional one hundred dollars ($100) or fractional part thereof, 4 days.

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             Plaintiffs have sustained, together with punitive, or exemplary

             damages as the law shall permit;

       c.    Enter an injunction and other declaratory relief which declares that

             Clanton exceeded its authority by contracting to bind its judiciary and

             that such action is void and in violation of the statutory and

             constitutional limitations on municipalities;

       d.    Enter an injunction and other declaratory relief which enjoins Clanton

             from engaging in the violations of law set forth hereinabove;

       e.    Enter an injunction and other declaratory relief which prohibits

             Clanton in the future from placing persons on probation for collection

             of fines and declares that any current probation and fees for simple

             fines to be void;

       f.    Enter an injunction and other declaratory relief which prohibits

             Clanton in the future from assessing fines in excess of $500 and/or

             extending probation periods beyond 24 months and declare that any

             previously assessed fines and probationary periods in excess of these

             limits to be void;

       g.    Enter an injunction and other declaratory relief which prohibits

             Clanton in the future from imprisoning indigent persons for failure to

             pay fines and fees and ordering the release of any currently

             incarcerated indigent persons who were jailed for these reasons;

       h.    Award to the Plaintiffs and Class members damages under 42 U.S.C.

             § 1983 equal to any amounts paid on fines and all fees to JCS and

             Clanton that are found unconstitutional and/or unlawful (along with

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             interest), and the annulment of any remaining unpaid fines and fees

             that are found unconstitutional and/or unlawful;

       i.    Award to the Plaintiffs and Class the cost of this matter, including a

             reasonable attorneys' fee;

       j.    Award to the Plaintiffs and the Class members such other, further and

             more general relief as the Court may deem appropriate under these

             circumstances, including cost of these proceedings.

                                  RESPECTFULLY SUBMITTED,


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                                      JURY DEMAND

       Plaintiffs demand trial by struck jury on all issues in this action.

                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 15th day of December, 2016, I electronically filed the
foregoing Plaintiffs’ Second Amended and Restated Complaint with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to the following:

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